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 9
                               UNITED STATES DISTRICT COURT
10
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
       ERNEST DEWAYNE JONES,                     Case No. CV-09-2158-CJC
12                Petitioner,
                                                 DEATH PENALTY CASE
13             v.
14                                               EXHIBITS IN SUPPORT OF
15                                               PETITIONER’S OPENING BRIEF
       KEVIN CHAPPELL, Warden of
                                                 ON CLAIM 27
16     California State Prison at San
       Quentin,
17                                               VOLUME 3
                           Respondent.
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        Petitioner’s Opening Brief on Claim 27                        Case No. CV-09-2158-CJC
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                                  Exhibit 9
      Trent Nelson, Will Wyoming Turn To
        Firing Squads For Executions?,
         CBSNews.com., May 22, 2014




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      AP / May 22, 2014, 8:30 AM




                                                                                                                            Most Popular

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                                                                                                                                       Pat Sajak sparks Twitter
      The execution chamber at the Utah State Prison after an execution by firing squad June 18, 2010; the bullet holes                backlash with "unpatriotic
      are visible in the wood panel behind the chair. / TRENT NELSON, AP                                                               racists" comment on climate
                                                                                                                                       change
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      CHEYENNE, Wyo. -- Prompted by the shortages of available drugs for lethal                                                        Cops: Jace confessed to killing
      injections, Wyoming lawmakers are considering changing state law to permit the                                                   wife on 911 call
                                                                                                                                       32235 views
      execution of condemned inmates by firing squad.

      A Wyoming legislative committee has directed its staff to draft a firing-squad bill                                              Retiree dies in police custody
      for consideration ahead of next year's legislative session starting in January.                                                  after traffic stop
                                                                                                                                       27257 views

      Lawmakers in Utah also may consider a return to firing squads for civilian
      executions. A Republican state lawmaker there recently announced that he
      intends to introduce firing-squad legislation in his state's next legislative session
      in January as well.

      Utah outlawed execution by firing squad in 2004 but kept it as an option for
      inmates convicted before that time. It last executed an inmate by firing squad in
      2010.

                                                   Bob Lampert, director of the Wyoming
                                                   Department of Corrections, told members of the
                                                                                                                              play VIDEO
                                                   Wyoming Legislature's Joint Interim Judiciary
                                                   Committee last week in Rawlins that drugs for                              Teen nails Michael Jackson
                                                   lethal injection have become increasingly difficult                        routine at HS talent show
                                                   to obtain.

      Play VIDEO
                                                   "In the event that we had an execution scheduled
                                                   and we couldn't carry it out as a result of lack of                       Flirty Plus-Size
      British woman's efforts                      substances, I suggested to the Joint Judiciary that
      stopped supply of                            we may want to consider having an alternate                               Outfits
      execution drug to U.S.
                                                   means of execution, such as the firing squad,"                               zulily.com
                                                   Lampert said Wednesday.                                                   Shop Flirty Plus-Size Outfits on Sale up
                                                                                                                             to 70% Off. Shop Now!
      Current state law specifies Wyoming would execute condemned inmates in a gas
      chamber, which the state doesn't currently have, as a backup to lethal injection
      only if lethal injection were found to be unconstitutional. Existing state law                                         Weddings on the
      doesn't address how the state should proceed in response to a drug shortage.
                                                                                                                             Water
      Lethal injection is becoming increasingly difficult for states to perform as
                                                                                                                            Most Shared
      pharmaceutical companies withhold drug compounds that states traditionally
      have used. Some inmates have raised constitutional challenges as states have                                                     Pat Sajak sparks Twitter

                                                                                     Exhibit 9
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      turned to untried compounds.                                                                                     backlash with "unpatriotic
                                                                                                                       racists" comment on climate
      Wyoming has no execution drugs on hand, Lampert said.                                                            change

                                             Last month, Oklahoma inmate Clayton Lockett                               Is cheap food to blame for the
                                             died of a heart attack more than 40 minutes after                         obesity epidemic?
                                             corrections officials there started trying to
                                             administer drugs at his execution. President
                                                                                                                       What's behind the national
                                             Obama called the Lockett incident deeply
                                                                                                                       ammo shortage?
                                             troubling and said he had asked his attorney
                                             general to review the application of the death
      Play VIDEO                             penalty.                                                                  China calls for new security
      Okla. executions on hold               Sen. Bruce Burns, R-Sheridan, had proposed a
                                                                                                                       pact with Russia, Iran
      after lethal injection goes            bill in the state's legislative session earlier this
      wrong
                                             year to change state law to allow the use of firing                       New meteor shower visible this
                                             squads. He's a member of the judiciary                                    weekend: How to watch
      committee.

      Burns said Wednesday the committee intends to consider the firing-squad
      approach at its next meeting in July. He floated a bill in the legislative session
      early this year calling for allowing use of the firing squad, but it failed an
      introductory vote.

      Burns said his fellow lawmakers increasingly seem to recognize that the state
      needs to act.

      Burns said he believes using the firing squad would be a preferable means of
      execution to lethal injection, in which inmates feel the needle and then have to
      wait for drugs to take effect.                                                                            38 PHOTOS

      Wyoming has only one inmate on death row: Dale Wayne Eaton, 69, is pressing a                             amfAR gala at the Cannes Film
      federal appeal of the state court death penalty he received in 2004 for the                               Festival
      murder of Lisa Marie Kimmell, 18, of Billings, Montana.

      Cheyenne lawyer Terry Harris represents Eaton in his federal appeal. An attempt                         Most Discussed
      to reach Harris for comment Wednesday wasn't immediately successful.
                                                                                                                       Who do Americans blame for
      Rep. Stephen Watt, R-Rock Springs, serves on the Joint Interim Judiciary                                         the VA scandal?
      Committee. He said he intends to sponsor a bill in the state's coming legislative                                     471 COMMENTS
      session to do away with the death penalty entirely but doesn't expect it will get
      much support.                                                                                                    What will it take to fix the VA?
                                                                                                                            199 COMMENTS
      Watt is a former Wyoming Highway Patrol trooper who was severely injured in a
      gunfight on the job years ago.
                                                                                                                       Retiree dies in police custody
      "The biggest and probably the most important one is probably my Christian                                        after traffic stop
      beliefs that it's wrong for man to kill man," Watt said Wednesday of his                                              243 COMMENTS
      opposition to the death penalty. "The second one is because of technology. All the
      time, we're coming up with more and more technology, and we're finding                                           House snubs Pentagon on
      innocent people that have been wrongly convicted and sentenced to die. It would                                  defense spending bill
                                                                                                                            53 COMMENTS
      be a tragedy for one innocent person to die."

      Watt said he doesn't consider the firing squad to be a more humane alternative                                   Pat Sajak sparks Twitter
      to lethal injection.                                                                                             backlash with "unpatriotic
                                                                                                                       racists" comment on climate
      "I've been shot," he said. "And I don't care how quickly death comes from firing                                 change
                                                                                                                            161 COMMENTS
      squad. It still hurts and it's still terrifying. And I think it's cruel and unusual."
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      rewritten, or redistributed.


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                   SportsBreak                                        Ancestry.com



      Featured in Politics                                Popular on CBS News
                                                                       Cabinet shuffle: Obama

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                                                              nominates Julian Castro as
                                                              HUD secretary

                                                              John Kerry to testify on
                                                              Benghazi
                                                                 95 COMMENTS


                                                              Chuck Hagel: New officers
                                                              must help eliminate sexual
      Americans' view of                                      assault
      Congress: Throw 'em out
                                                              Judge allows Rep. John
      A new CBS News poll reveals the
                                                              Conyers to be on ballot
      lowest-ever percentage of Americans                        12 COMMENTS
      who think members of Congress
      deserve re-election
                                                              GOP sues feds for right to
                                                              raise unlimited campaign cash
                                                                 15 COMMENTS


                                                              Back home briefly, Obama
                                                              breakfasts with Illinois
                                                              governor

                                                              VA Secretary Eric Shinseki
                                                              begins to draw friendly fire


      What will it take to fix VA                             After controversy, IRS to revise
      health care?                                            rule changes for tax-exempt
      With the VA roiled by scandal and                       political groups
                                                                 15 COMMENTS
      expecting an influx of new vets from
      wars winding down, it needs solutions




      17 Comments / 26 people listening                                                   SIGN IN




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                                                                     COMMENTING FAQS / GUIDELINES

      NEWEST | OLDEST | TOP COMMENTS


      SFTOMMY_012 May 22, 2014 2:2PM

      Give the convicted a choice from the police drug confiscation lockers; OD on the one of
      their choice.
      Strap 'em down and let it go....


      No costs involved.

        LIKE /   REPLY


      ROADKING041 May 22, 2014 2:2PM

      That's what I'm talking about! Lead is cheaper than drugs, and when you see a
      condemned prisoner. And for all you anti-death penalty whiners, if it was your child
      that had her head partially blown off with a shotgun, then buried alive as with the
      Oklahoma murderer that was recently put to death, you would be calling for his head
      on a platter. As far as i'm concerned heinous murderers on death row SHOULD suffer
      as much physical and mental pain that can be administered while they take their last
      worthless breath on this earth. THAT is justice!

        LIKE /   REPLY


      ASKAGAIN May 22, 2014 1:1PM

      A wiser move would be to have several execution choices which either the state or the
      person on death row can choose from. That might avoid some of the frivolous appeals.

        LIKE /   REPLY


      GTR5 May 22, 2014 0:12PM

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      Just use a rope.

        LIKE /      REPLY


      BETTERUSA May 22, 2014 0:12PM

      For the people that spout too many innocent ones being executed; execute the the
      killers that are caught committing the crime. E.g. Holmes, Loughner, the Ft. Hood
      shooter, are examples of killers that should be executed immediately. I am certain there
      are many on death row that were 100% guilty like these three examples. Unfortunately,
      these guilty types are lawyered up and are spending millions of taxpayer dollars
      fighting the system. Only the lawyers win! Those that are convicted and given death or
      life without parole should be put in a 5 foot by 5 foot cubicle that is completely without
      light and fed through a slot in the door. I believe most would beg to be executed instead
      of living in a coffin.

        LIKE /      REPLY


      DJSEAVY May 22, 2014 11:11AM

      The death penalty should be abolished, since they seem to manage to put innocent
      people on death row. I also believe being put in solitude until your dying breath would
      be better punishment. I realize a lot of people believe death is appropriate in many
      cases, and I can't say that I disagree. However, the cost of incarceration pales in
      comparison to the cost of appeals and everything else that goes along with a dp case.
       And if they execute an innocent person, which is very likely that they have already,
      then what? It's a sentence that - once carried out - is impossible to reverse.

        LIKE /      REPLY


      ALWAYS SURPRISED May 22, 2014 11:11AM

      I wouldn't want to be in the firing squad, pretty crappy job. They say it's cheaper to
      keep him in prison for life. If that's true, probably better, but who can prove that it's
      cheaper?

        LIKE /      REPLY


      DANNYSTEELE May 22, 2014 11:11AM

      Personally, I'd do away with the death penalty. I've been in a prison cell (I was there as
      part of construction project). Keeping someone locked up until natural death seems to
      be a harsher sentence than the death penalty.

        LIKE /      REPLY


      VERITAS830 May 22, 2014 11:11AM

      Obviously,when the constitution was written & hanging was the most popular form of
      execution it wasn't considered cruel or unusual.The biggest concen I have is do you
      have the right guy.

        LIKE /      REPLY


                   EMPIRICAL RATIONALIST May 22, 2014 11:11AM

                   @Veritas830 Oh I agree, we need a mechanism in the law that to convict
                   someone of capital murder, there is sound physical scientific evidence. Too
                   many people get convicted simply because they're ugly or unpopular.

                     LIKE /   REPLY


                   CBCHASE May 22, 2014 11:11AM

                   @Veritas830 Good point. Hangings and firing squads weren't considered
                   unconstitutional while the men who wrote said document were still around,
                   but now it's a major outrage if a guy has a panic attack or feels discomfort from
                   an IV while lying on a bed with a pillow under his head. What?

                     LIKE /   REPLY


      EMPIRICAL RATIONALIST May 22, 2014 10:10AM

      Simple, cheap, quick, effective, and if we are talking headshots, would be quite painless.
       Throw the body in a bag, and hose down the mess into the drain. It is a great way to
      execute. Though I think hanging from a rope would probably be a little cleaner, and
      you can reuse the rope.

        1 LIKE /     REPLY


      PHILS1950 May 22, 2014 10:10AM

      "And I don't care how quickly death comes from firing squad. It still hurts and it's still

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      terrifying. And I think it's cruel and unusual."
      And feeling that needle slip under you skin, and the warm flow of the
      drug isn't terrifying? Good to see how the victims felt huh......
      Jeez, being put to death isn't mean to be pleasant, just think of the deaths of the victims
      of these people, personally I don't care, how they top them off, What I do care about is
      getting it done in a timely manner, as I really resent supporting these POS in prisons
      for a couple of decades.



        3 LIKE /     REPLY


      LIVINGSWORD May 22, 2014 9:9AM

      The gun is the weapon of choice to execute, just ask the NRA and most politicians who
      support shooting Bambi with assault rifles. Or ask any of the many stone cold
      murderers who have killed innocent men, women, and children at the many fine
      colleges, universities, and even grade schools where mass murder by these killing
      weapons have happened. They will tell you how humane and effective it is to gun down
      all these people. Ask any muslim terrorist group or any NRA peoson just how
      wonderful these bullets do their job. Im sure without a doubt that a 'Firing Squard' of
      maybe just two or three executioners would definately put all these bad people out of
      their misery once and for all. Like in a New York minute man, or like an instant cup of
      coffee. Yeah now that is not 'cruel and unusual punishment', at all dude.

        1 LIKE /     REPLY


                    NOMORENICEGUY May 22, 2014 10:10AM

                    @LivingSword Or ask the victims...oops..you can't because they're DEAD.

                      1 LIKE /   REPLY


      BOBW1212 May 22, 2014 7:7AM

      ...you dip a guy in brown gravy and lock him in a small room with a wolverine who's
      high on angel dust.
      -George Carlin on capital punishment

        2 LIKE /     REPLY


      MERLIN BIKE May 22, 2014 5:5AM

      Wait, what?
      Where are they going to get the ammo?

        3 LIKE /     REPLY




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                                Exhibit 10
   Josh Levs, Ed Payne, and Greg Botelho,
    Oklahoma's Botched Lethal Injection
      Marks New Front In Battle Over
           Executions, CNN.com,
                              May 1, 2014




                                      Exhibit 10
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http://www.cnn.com/2014/04/30/us/oklahoma-botched-execution/index.html
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  Oklahoma's botched lethal injection marks new front in battle over
  executions
  By Josh Levs, Ed Payne, and Greg Botelho , CNN
  updated 3:32 PM EDT, Thu May 1, 2014                                                              CNN.com


 (CNN) -- A botched lethal injection in Oklahoma has catapulted the issue of U.S. capital punishment back
 into the international spotlight, raising new questions about the drugs being used and the constitutional
 protection against cruel and unusual punishment.

 "We have a fundamental standard in this country that even when the death penalty is justified, it must be
 carried out humanely -- and I think everyone would recognize that this case fell short of that standard,"
 White House spokesman Jay Carney said Wednesday.

 What went wrong Tuesday in Oklahoma "will not only cause officials in that state to review carefully their
 execution procedures and methods," said Richard W. Garnett, a former Supreme Court law clerk who now
 teaches criminal and constitutional law at the University of Notre Dame, "it will also almost prompt many
 Americans across the country to rethink the wisdom, and the morality, of capital punishment."

 "The Constitution allows capital punishment in some cases, and so the decision whether to use it or
 abandon it, and the moral responsibility for its use and misuse, are in our hands," he said.


 Precisely what happened during the execution of convicted murderer and rapist Clayton Lockett remains
 unclear. Witnesses described the man convulsing and writhing on the gurney, as well as struggling to
 speak, before officials blocked the witnesses' view.

 It was the state's first time using a new, three-drug cocktail for an execution.

 Oklahoma halted the execution of another convicted murderer and rapist, Charles Warner, which was
 scheduled for later in the day.

 Thirty-two U.S. states have the death penalty, as does the U.S. government and the U.S. military. Since
 2009, three states -- New Mexico, Connecticut, and Maryland -- have voted to abolish it.

 States that have capital punishment have been forced to find new drugs to use since European-based
 manufacturers banned U.S. prisons from using theirs for executions. One of those manufacturers is the
 Danish company Lundbeck, maker of pentobarbital.

 Carney, speaking to reporters at a daily briefing, said he had not discussed the Oklahoma case with
 President Barack Obama.

 "He has long said that while the evidence suggests that the death penalty does little to deter crime, he
 believes there are some crimes that are so heinous that the death penalty is merited." The crimes
 committed by the two men in Oklahoma "are indisputably horrific and heinous," Carney said.

 'There was chaos'
                                                             Exhibit 10
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http://www.cnn.com/2014/04/30/us/oklahoma-botched-execution/index.html
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 Lockett lived2:09-cv-02158-CJC
                for 43 minutes after Document         Filed
                                     being administered      06/09/14
                                                        the first        Pageaffiliate
                                                                  drug, CNN        of 263
                                                                                       KFOR reported. He got
 out the words "Man," "I'm not," and "something's wrong," reporter Courtney Francisco of KFOR said. Then
 the blinds were closed.

 Other reporters, including Cary Aspinwall of the Tulsa World newspaper, also said Lockett was still alive
 and lifted his head while prison officials lowered the blinds so onlookers couldn't see what was going on.

 Dean Sanderford, Lockett's attorney, said his client's body "started to twitch," and then "the convulsing got
 worse. It looked like his whole upper body was trying to lift off the gurney. For a minute, there was chaos."

 Sanderford said guards ordered him out of the witness area, and he was never told what had happened to
 Lockett, who was convicted in 2000 of first-degree murder, rape, kidnapping and robbery.

 After administering the first drug, "We began pushing the second and third drugs in the protocol," said
 Oklahoma Department of Corrections Director Robert Patton. "There was some concern at that time that
 the drugs were not having the effect. So the doctor observed the line and determined that the line had
 blown." He said that Lockett's vein had "exploded."

 The execution process was halted, but Lockett died of a heart attack, Patton said.

 "I notified the attorney general's office, the governor's office of my intent to stop the execution and
 requested a stay for 14 days," said Patton.

 Gov. Mary Fallin issued a statement saying that "execution officials said Lockett remained unconscious
 after the lethal injection drugs were administered."

 Another state, another botched execution

 Earlier this year, a convicted murderer and rapist in Ohio, Dennis McGuire, appeared to gasp and
 convulse for at least 10 minutes before dying from the drug cocktail used in his execution.

 Ohio used the sedative midazolam and the painkiller hydromorphone in McGuire's January execution, the
 state said.

 Louisiana announced later that month that it would use the same two-drug cocktail.

 Oklahoma had announced the drugs it planned to use: midazolam; vecuronium bromide to stop
 respiration; and potassium chloride to stop the heart. "Two intravenous lines are inserted, one in each
 arm. The drugs are injected by hand-held syringes simultaneously into the two intravenous lines. The
 sequence is in the order that the drugs are listed above. Three executioners are utilized, with each one
 injecting one of the drugs."

 The execution was the first time Oklahoma had used midazolam as the first element in its three-drug
 cocktail. The drug is generally used for children "before medical procedures or before anesthesia for
 surgery to cause drowsiness, relieve anxiety, and prevent any memory of the event," the U.S. National
 Library of Medicine says. "It works by slowing activity in the brain to allow relaxation and sleep."

 The drug "may cause serious or life-threatening breathing problems," so a child should only receive it "in a
                                                 Exhibit 10
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 hospital or doctor's office that hasDocument  109-3that
                                      the equipment     Filed 06/09/14
                                                          is needed      Page 11
                                                                     to monitor hisofor263
                                                                                        her heart and  lungs and
 to provide life-saving medical treatment quickly if his or her breathing slows or stops."

 Cruel and unusual?

 The question for courts is whether using such drugs in executions constitutes "cruel and unusual"
 punishment, in violation of the Eighth Amendment to the U.S. Constitution.

 After his execution, McGuire's family filed a lawsuit seeking an injunction of the execution protocol the
 state used.

 "The lawsuit alleges that when Mr. McGuire's Ohio execution was carried out on January 16th, he did
 endure frequent episodes of air hunger and suffocation, as predicted," the office of the family's attorney
 Richard Schulte said in a statement. "Following administration of the execution protocol, the decedent
 experienced 'repeated cycles of snorting, gurgling and arching his back, appearing to writhe in pain,' and
 'looked and sounded as though he was suffocating.' This continued for 19 minutes."

 In Oklahoma, attorneys for both Lockett and Warner have been engaged in a court fight over the drugs
 used in the state's executions.

 They'd initially challenged the state Department of Corrections' unwillingness to divulge which drugs would
 be used. The department finally disclosed the substances.

 Lockett and Warner also took issue with the state's so-called secrecy provision forbidding it from
 disclosing the identities of anyone involved in the execution process or suppliers of any drugs or medical
 equipment. The Oklahoma Supreme Court rejected that complaint, saying such secrecy does not prevent
 the prisoners from challenging their executions as unconstitutional.

 After Lockett's execution, Adam Leathers, co-chairman of the Oklahoma Coalition to Abolish the Death
 Penalty, accused the state of having "tortured a human being in an unconstitutional experimental act of
 evil."

 "Medical and legal experts from around the country had repeatedly warned Oklahoma's governor, courts
 and Department of Corrections about the likelihood that the protocol intended for use ... would be highly
 problematic," said Deborah Denno, death penalty expert at Fordham Law School.

 "This botch was foreseeable and the state (was) ill prepared to deal with the circumstances despite
 knowing that the entire world was watching. Lethal injection botches have existed for decades but never
 have they been riskier or more irresponsible than they are in 2014. This outcome is a disgrace," Denno
 said.

 Amnesty International USA called the botched execution "one of the starkest examples yet of why the
 death penalty must be abolished."w

 "Last night the state of Oklahoma proved that justice can never be carried out from a death chamber,"
 Executive Director Steven W. Hawkins said in a statement.

 Investigation
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 The Oklahoma attorney general's office is "gathering information on what happened in order to evaluate,"
 said spokeswoman Dianne Clay.

 Fallin ordered an independent review of the state's execution procedures and issued an executive order
 granting a two-week delay in executions.

 "I believe the legal process worked. I believe the death penalty is an appropriate response and
 punishment to those who commit heinous crimes against their fellow men and women. However, I also
 believe the state needs to be certain of its protocols and its procedures for executions and that they work,"
 she told reporters Wednesday.

 Fallin gave no deadline for the review, which will be led by Department of Public Safety Commissioner
 Michael Thompson. If it is not done within the 14-day period, the governor said she would issue an
 additional stay for Warner.

 Lockett's attorney slammed the announcement and called for a "truly" independent investigation.

 "The DPS is a state agency, and its Commissioner reports to the Governor. As such, the review proposed
 by Governor Fallin would not be conducted by a neutral, independent entity.

 "In order to understand exactly what went wrong in last night's horrific execution, and restore any
 confidence in the execution process, the death of Clayton Lockett must be investigated by a truly
 independent organization, not a state employee or agency," Dean Sanderford said in a statement.

 Lockett was convicted in 2000 of a bevy of crimes that left Stephanie Nieman dead and two people
 injured.

 Nieman's parents released a statement Tuesday prior to Lockett's scheduled execution.

 "God blessed us with our precious daughter, Stephanie for 19 years," it read. "She was the joy of our life.
 We are thankful this day has finally arrived and justice will finally be served."

 Warner, who now awaits execution, was convicted in 2003 for the first-degree rape and murder six years
 earlier of his then-girlfriend's 11-month-old daughter, Adrianna Waller.

 His attorney, Madeline Cohen, said further legal action can be expected given that "something went
 horribly awry" in Lockett's execution Tuesday.

 "Oklahoma cannot carry out further executions until there's transparency in this process," Cohen said. "...
 Oklahoma needs to take a step back."

 In a CNN/ORC poll earlier this year, 50% of Americans said the penalty for murder in general should be
 death, while 45% said it should be a life sentence. The survey's sampling error made that a statistical tie.
 Fifty-six percent of men supported the death penalty for murder in general, while 45% of women did.

 A Gallup poll last year found 62% of Americans believe the death penalty is morally acceptable, while half
 as many, 31%, consider it morally wrong.
                                                             Exhibit 10
Page 4 of 5                                                  Page 393                  May 23, 2014 04:33:35PM MDT
http://www.cnn.com/2014/04/30/us/oklahoma-botched-execution/index.html
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                                 Exhibit 11
         Dana Ford and Ashley Fantz,
      Controversial Execution In Ohio Uses
       New Drug Combination, CNN.com,
               January 17, 2014




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http://www.cnn.com/2014/01/16/justice/ohio-dennis-mcguire-execution/
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  Controversial execution in Ohio uses new drug combination
  By Dana Ford and Ashley Fantz , CNN
  updated 1:01 PM EST, Fri January 17, 2014                                                          CNN.com


 (CNN) -- Ohio inmate Dennis McGuire appeared to gasp and convulse for roughly 10 minutes before he
 died Thursday by lethal injection using a new combination of drugs, reporters who witnessed it said.

 McGuire was convicted in 1994 of the rape and murder of 22-year-old Joy Stewart, who was seven
 months pregnant. Her relatives were at Southern Ohio Correctional Facility in Lucasville to witness his
 death, according to tweets from television reporter Sheila Gray.

 McGuire's "children and daughter-in-law were crying and visibly upset," Gray tweeted.


 She said McGuire, before the drugs took effect, thanked Stewart's family for a letter he apparently
 received.

 "To my children, I'm sorry. I love you. I'm going to heaven and I'll see you there when you come," McGuire
 reportedly said, according to CNN affiliate WDTN.

 Columbus Dispatch reporter Alan Johnson said that the whole execution process took 24 minutes, and
 that McGuire appeared to be gasping for air for 10 to 13 minutes.

 "He gasped deeply. It was kind of a rattling, guttural sound. There was kind of a snorting through his nose.
 A couple of times, he definitely appeared to be choking," WDTN quoted Johnson as saying.

 The convicted murderer was pronounced dead at 10:53 a.m. ET.

 The execution generated controversy because, like many states, Ohio has been forced to find new drug
 protocols after European-based manufacturers banned U.S. prisons from using their drugs in executions
 -- among them, Danish-based Lundbeck, which manufactures pentobarbital.

 According to Ohio's corrections department, the state used a combination of the drugs midazolam, a
 sedative; and the painkiller hydromorphone.

 Both the length of time it took for McGuire to die and his gasping are not typical for an execution, said
 Howard Nearman, an anesthesiologist at University Hospitals Case Medical Center in Cleveland.

 "Why it took 24 minutes, I really can't tell you," he said. "It just makes you wonder -- what was given?
 What was the timing, and what were the doses?"

 In an opinion piece written for CNN this week, a law professor noted that McGuire's attorneys argued he
 would "suffocate to death in agony and terror."

 "The state disagrees. But the truth is that no one knows exactly how McGuire will die, how long it will take
 or what he will experience in the process," wrote Elisabeth A. Semel, clinic professor of law and director of
 the Death Penalty Clinic at U.C. Berkeley School of Law.
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                                  legal team,109-3   Filed
                                              attorney     06/09/14
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                                                                                the governor  to impose a
 moratorium on future executions because of what took place Thursday.

 "At this point, it is entirely premature to consider this execution protocol to be anything other than a failed,
 agonizing experiment," he said in a statement.

 "The people of the State of Ohio should be appalled at what was done here today in all of our names.
 Ohio, like its citizens, must follow the law. The state has failed."

 CNN's Sonny Hostin said that McGuire's execution will likely spark debate over whether how inmates
 react to the use of the drugs constitutes cruel and unusual punishment prohibited by the U.S. Constitution.

 "Whenever there's a change in the lethal injection process clearly it's subject to legal proceedings and
 perhaps we will see those," Hostin said.

 Ohio ran out of pentobarbital, which is a narcotic and sedative barbiturate, in September, according to
 JoEllen Smith, spokeswoman for the Ohio Department of Rehabilitation and Correction.

 In response to that shortage, the department amended its execution policy to allow for the use of
 midazolam and hydromorphone.

 Stewart's body was discovered by hikers near a creek in southwestern Ohio in February of 1989. Her
 throat was cut and she had been sodomized.

 Death penalty states scramble for lethal injection drugs

 There are currently 138 men and one woman on death row in Ohio.

 The state was set to execute death row inmate Ron Phillips using the new drug combination last year, but
 Gov. John Kasich granted the convicted killer a stay of execution pending a review of a possible organ
 donation to his family members.

 CNN's Joe Sutton, Ross Levitt and Deborah Feyerick contributed to this report.

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                                 Exhibit 12
       PriceWaterhouseCoopers, Cost of
   Private Panel Attorney Representation in
    Federal Capital Habeas Corpus Cases
     from 1992 to 1998, February 9, 1999




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           Cost of Private Panel Attorney Representation in Federal
                Capital Habeas Corpus Cases from 1992 to 1998




                                   February 9, 1999




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   Section 1:                Executive Summary

   1.1 Introduction

     In September 1998 the Administrative Office of the United States
     Courts (AOUSC) requested that PricewaterhouseCoopers (PwC)
     analyze the costs of private panel attorney' representation of federal
     capital habeas corpus cases from 1992 to 1998. In particular, PwC was
     asked to identify regional differences in costs and potential reasons for
     those differences. The following report is the result of that analysis.


     Federal capital habeas corpus involves federal court review of a state
     capital murder conviction and a death sentence that has already been
     upheld by a state court. The petitioner—the person sentenced to
     death—makes a claim that his constitutional rights were violated at
     some point during the state proceedings.' Thus, the writ of habeas
     corpus serves as a check on state courts and their application of federal
     constitutional protections, but does not determine the prisoner's guilt
     or innocence. The procedural and substantive legal rules governing
     federal capital habeas corpus review are evolving and very complicated
     (see 1.2. The Nine Steps of Capital Litigation below)?



     Private panel attorneys are private attorneys who are compensated with public dollars to
   provide representation. to those financially unable to secure adequate representation in criminal
   and related proceedings. As such, they are pan of the Defender Services Program operated by
   the Administrative Office of the U.S. Courts. These attorneys are often referred to as cjA
   panel attorneys in reference to the Criminal Justice ACC of 1964, which provides authorization
   for compensating them.

   2 Claims are typically made under the 4th, 5th, 6`h, 8th, and 14th Amendments.


   3 See Section 3 for a detailed discussion of the life cycle of a federal capital habeas case.


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    Concern about regional differences in the costs of federal capital
    habeas corpus representations by CJA panel attorneys arose, in part,
    from a 1998 Coopers & Lybrand report on the costs of the Defender
    Services Program. In that report, Coopers & Lybrand noted that the
    Ninth Circuit, driven by the California districts, accounted for 60 to 76
    percent of capital habeas representation costs, in contrast with 48 to 63
    percent of the representations between 1992 and 1997. 4


    Following a House Appropriations Subcommittee hearing during
    which this finding was discussed, Judge John G. Heyburn II, Chair of
    the Judicial Conference Budget Committee, and Leonidas Ralph
    Mecham, AOUSC Director, wrote to Representative Harold Rogers,
     Chairman of the House Subcommittee, outlining the judiciary's efforts
    to control the cost of capital habeas cases in the Ninth Circuit and
     California. These measures include mandatory case budgeting as well
   - as Circuit Judicial Council review and approval of case budgets for all
    pending and new capital habeas proceedings. In addition, the AOUSC
     awarded PwC a contract to study the issue.


     In this study, PwC used three sources of data and information to
     identify the costs and regional disparities in the costs of federal capital
     habeas corpus cases, as well as the possible reasons behind these costs
     and regional disparities:
     1. Analysis of vouchers from the CJA Panel Attorney Payment
           System database, which contains information on costs incurred
           and hours spent on CJA panel attorney cases;


    Report on Costs and Recommendations for the Control of Costs of the Defender Services
   Program, Coopers & Lybrand L.L.P, page 25.

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    2.     Analysis of responses to a survey distributed to a sample of CJA
           panel attorneys; and
    3.     Case studies of seven separate cases from six states, including
           two cases from California.


    None of the analyses included in this report should be taken as
    representing PwC's recommendations as to what are, or should be,
    appropriate costs of federal capital habeas corpus cases. In particular,
    comparison of the average costs of cases by circuit, district, and state
    does not, by itself, indicate whether costs are too high or too low in
    any particular region.


   1.2 The Nine Steps of Capital Litigation

    Beginning with the state trial, a capital case may pass through nine
    steps of litigation before the case is finally closed. These nine steps
    are:
    Step 1: State trial and sentencing;
    Step 2: Direct appeal at the state level;
    Step 3: Petition for certiorari review of state conviction in the U.S.
              Supreme Court;
    Step 4: State collateral review (post-conviction proceedings);
    Step 5: Appeal of state collateral review decision at the state level;
    Step 6: Petition for certiorari review of state collateral review in the
              U.S. Supreme Court;
    Step 7: Petition for writ of habeas corpus in federal district court;
    Step 8: Appeal of federal district court decision in the federal court of
              appeals; and

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    Step 9: Petition for certiorari review in U. S. Supreme Court.


    The federal capital habeas corpus stage begins at Step 7 and ends at
    Step 9, but the time taken for a case to pass through these steps
    depends heavily on what occurs at the state level in the prior six steps.
    Therefore, petitioner's counsel must familiarize himself or herself with
    all that went on in the case before it reaches Step 7. The volume and
    complexity of the work involved in providing representation in a
    federal capital habeas corpus case can therefore be substantial.


    Moreover, there are various sub-steps in the federal habeas corpus
    stage. They include:
    • Appointment of counsel;
    • Request for stay of execution, and appeals (if relevant) of denials
        of stay;
    • The hearing of dispositive motions; and
    • The holding of an evidentiary hearing (if needed) and oral
        arguments before the judge.


    These steps do not always proceed uninterrupted. At any point in the
    process this sequence of sub-steps may be suspended: a case may be
    sent back to the state court; an appeal may be made to the circuit court;
    or procedural litigation, such as whether the time limits imposed by the
    Anti-terrorism and Effective Death Penalty Act apply, may be
    instigated. Each delay adds to the cost of a case as attorneys take time
    to review the case again, learn new statutory and case law, renew
     contact with witnesses, and so on. The life cycle is discussed more
     fully in section III.
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  1.3 Costs of Federal Capital Habeas Corpus Cases 5

       Total Costs of Federal Capital Habeas Corpus Cases:                       The total cost
       of C.TA panel attorney representation in 1,009 federal capital habeas
       corpus cases between 1992 and 1998 was $112.1 million. PwC
       removed certain vouchers and cases (totaling $9.8 million) deemed
       inappropriate for the analysis, 6 leaving $102 million in total costs for
       783 cases. The analyses and figures in the rest of this report relate to
       these 783 cases.


       Almost 90 percent of these costs (about $90 million) were incurred in
       631 open cases, while approximately 10 percent of the total costs
       analyzed were incurred in the 152 closed cases! Of the open cases,
       most of the costs ($85 million) were incurred in active cases , while
       only a small proportion of the total costs ($5 million) were incurred in
       open cases that are dormant.'




   5The costs analyzed in this report do not include the costs of services provided by Post-
   Conviction Defender Organizations (PCD0s) staff in Federal Defender Organizations,
   assistance provided by law school interns, or the value of pro bono work performed by other
   attorneys. Many of the cases in the database received assistance from one or more of these
   sources, especially from the PCD0s, that were operational from 1989 to 1996.

   6A case was unsuitable for analysis if the stage of proceeding was not noted on any of the
   vouchers for that case, if the case's vouchers only included experts' costs, if the case had started
   within the past 6 months, or if the case was under seal.

     Cases are considered closed if the petitioner died in prison, was executed, was granted habeas
   relief and released (or received a reduced sentence as a result), or if the death sentence was
   commuted and the state court reduced the sentence. Otherwise, cases are considered open.

    Open cases are considered active if the attorney submitted a voucher within the last 2 years.
   Otherwise open cases are considered dormant.

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          CJA Panel Attorney Payment System Data
          Open and Closed Cases by Case Disposition


                                                      All Cases
                                                      Number of Cases 783
                                                      Sum Cost : S102,293,031.13
                                                      Avg. Cost: S130,642.44
                                                      Median CostS63,256.82



                 Open Cases                                                           Closed Cases
                 Number of Cases: 631                                                 Number of Cases: 152
                 Sum Cost: $89,856,704,23                                             Sum Cost: $12,436,326.90
                 Avg. Cost: $142,403.65                                               Avg. Cost: S81,817.94
                 Median Cost S68,154.90                                               Median Cost $54,779.85



Active                              Dormant                         Executed                            Commuted/Released/Died
Number of Cases: 563                Number of Cases: 68             Number of Cases: 131                Number of Cases: 21
Sum Cost: $85,218,988.17            Sum Cost: $4,637,716.06         Sum Cost: $10,866,740.36            Sum Cost: S1,569,586.54
Avg. Cost: 5151,365.90              Avg. Cost: S68,201.71           Avg. Cost: $82,952.22               Avg. Cost: $74,742.22
Median: $72,91073                   Median: $33,517.75              Median: $55,616.75                  Median: $53,428.87


                  ES Figure 1: Total Cost of Federal Capital Habeas Corpus Cases


            Average and Median Costs of Federal Capital Habeas Corpus Cases:
            Open cases are, on average, more costly than closed cases, and active
            open cases are are more costly than dormant cases. For closed cases
            there is little difference in cost by the final disposition of the case, as
            shown in ES Table 1 below.


                ES Table 1: Average and Median Costs of Open and Closed Federal
                                  Capital Habeas Corpus Cases
          Status of Case                                                               Average              Median Cost
                                                                                         Cost
           All Cases                                                                  $130,642                   $63,257
           Open Cases                                                                 $142,404                   $68,155
         , Closed Cases                                                                $81,818                   $54,780
          Disposition of Case

          Open Cases:   Active                                                        $151,366                   $72,911
                        Dormant                                                        $68,202                   $33,518
          Closed Cases: Executed                                                       $82,952                   $55,617
                        Commuted/Released/Died                                         $74,742                   $53,429



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       The median costs (that is, the cost of the "middle" case 9) for all
       categories of case are lower than the average costs, implying that the
       distribution of costs is skewed to the low end (that is, there are more
       cases with below-average costs than above-average costs). As
       discussed below, this is due in large part to the number of high-cost
       California cases. Otherwise, the median costs show a similar pattern to
       the average costs: open active cases are still the most costly, and there
       is little difference in the median cost of closed cases by case
       disposition.


       The relatively low average cost of closed cases compared to open cases
       is due largely to the impact of the large number of open and high-cost
       California cases. When the costs of only non-California cases are
       compared, there is little difference between the average cost of a closed
       case ($81,806) compared to an open case ($66,931).


       Cost of Federal Capital Habeas Corpus Cases by Stage of
       Proceeding: Preparation of the habeas petition is the most costly part
       of a case, most likely because not only does the bulk of investigation
       and research take place at this time but arguments are developed. This
       is true for both open and closed cases. For open cases, the evidentiary
       hearing stage is the next most costly stage. However, for closed cases
       the next most expensive stage is the appeal stage. This is shown in ES
       Table 2 below.




   9By definition, 50 percent of the cases are more costly than the cost of the median case, and 50
   percent of the cases are less costly.

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             ES Table 2: Average and Median Costs per Stage of Proceeding"

      Stage of Proceeding                     Open Cases                       Closed Cases
                                       Average             Median        Average           Median
      Habeas Petition Stage            $129,363            $46,614        $42,366          $27,715
      Evidentiary Hearing               $54,594            $17,200        $20,060          $8,937
      Dispositive Motions               $24,570            $12,398        $22,976          $8,921
      Appeal Stage                      $29,428            $20,713        $30,041          $21,140
      Petition for Cert                 $9,333             $8,025         $11,762          $8,351
      Other Stages                      $11,216            $4,836         $11,015          $4,608

     The cost discrepancies between open and closed cases is, again,
     primarily due to the impact of California cases.


     Costs of Federal Capital Habeas Corpus Cases by Cost Components:
     The majority of costs (over 80 percent) for both open and closed cases
     can be attributed to attorney fees for time spent out of court. The next
     most costly component is compensation for experts, followed by
     attorney expenses. Attorney fees for in-court hours are, by
     comparison, minimal. ES Figure 2 and ES Figure 3, respectively,
     show the average and median costs for each of these components.




   " The average cost of each stage of proceeding is calculated by dividing the total costs in the
   database for that stage of proceeding by the number of cases that had that stage of proceeding.
   Each case does not go through every stage (for example, not every case has an evidentiary
   hearing). Therefore, the sums of the average cost by stage ($258,504 and $138,220 for open and
   closed cases respectively) exceed the averages for open and closed cases given above ($142,404 and
   $81,818 respectively).

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                    $120,000.00
                                                                                     F .T. ,.
                                                                                     ifIll

                                                                                     7 ..,..                0 Avg Out-of-Court
                    $100,000.00
                                  ......                                             ' ',...4:,               Attorney Fees

                                                                                     ,                      0 Avg In-Court Attorney
                                                                                                              Fees
                     $80,000.00                                                       ,i-
     Average Cost




                                                                                            .   v.          E Avg Attorney

                     $60,000.00   ..,
                                                                      .;
                                                                                                     1111     Expenses
                                                                                                            P3 Avg Expert Costs


                     $40,000.00
                                            A:
                                           i
                     $20,000.00     41i
                                  k.P.4:                         i0Iii•
                                                                 ,...to


                                        ..,               :...
                          $0.00
                                                    All                    Closed                    Open
                                                                  Case Status


                    ES Figure 2: Average Federal Capital Habeas Corpus Costs by
                                            Component


                    $120,000.00



                    $100,000.00                                                                              0 Median Out-of-Court
                                                                                                               Attorney Fees

                                                                                                             NI Median In-Court
                     $80,000.00
                                                                                                               Attorney Fees
          0
                                                                                                             0 Median Attorney
                     $60,000.00                                                                                Expenses

                                                                                                             0 Median Expert Costs

                     $40,000.00



                     $20,000.00


                                    r....A.
                                        :7'....,.
                          $0.00
                                                    All                    Closed                    Open
                                                                   Case Status


                     ES Figure 3: Median Federal Capital Habeas Corpus Costs by
                                             Component

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  1.4 Regional Differences in the Costs of Federal Capital
                      Habeas Corpus Cases

    Average Cost of Cases By Circuit: The average cost of a case in the
    Ninth Circuit is more than three times the average case cost in any
    other circuit, as shown in ES Figure 4.
                      $350,000


                      $300,000


                      $250,000
                                                                    .,
       Average Cost




                      $200,000
                                                                                          =Mt Avg. Case Cast

                                                                                          —a— Med. Case Cost
                                                                         ..''
                      $150,000


                      $100,000


                       $50,000
                                      ..
                                                                                V
                                                                                     i
                            $0
                                 03   04   05   06     07      08   09          10   11

                                                     Circuit


      ES Figure 4: Cost of Federal Capital Habeas Corpus Cases by Circuit


     The high average cost of a Ninth Circuit case is not simply the result of
     a small number of very expensive cases. ES Figure 5 shows a curve
     for all cases in each circuit that links the cost of those cases, starting
     with the most costly case and ending with the least costly case.'
     Curves for California and non-California Ninth Circuit cases have also
     been included in the chart. Several facts are immediately apparent:


   11 Although cases in the Ninth Circuit were the most costly, all circuits had at least one case
   whose costs exceeded the national average and median.

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    •                 District courts in the Ninth Circuit have a larger caseload than
                      district courts in other circuits, with approximately 300 cases out
                      of a total of 783;
    •                 The median cost of a case in the Ninth Circuit is very high relative
                      to that of other circuits; in fact 95% of the cases in these other
                      circuits cost less than the median cost of a case in the Ninth
                      Circuit; and
    •                 California cases drive Ninth Circuit costs.


                      51,000.00000

                                                                                                         3RD CIRCUIT

                                                                                                     —   4TH CIRCUIT


                       5750.00000                                                                    —   5TH CIRCUIT

                                                                                                     —   6TH CIRCUIT




                                     \
        Median Cost




                                                                                                     —   7TH CIRCUIT


                       5500.0D0 00                                                                   —   8TH CIRCUIT




                       5250.000 00
                                         \
                                         California's Median Cost



                                                        The Ninth Circuits Median Cost
                                                                                                     —

                                                                                                     —



                                                                                                     -
                                                                                                         9TH CIRCUIT

                                                                                                         ¶0TH CIRCUIT

                                                                                                         111-Fi CIRCUIT


                                                                                                     —   9TH CIRCUIT WITHOUT
                                                                                                         CA
                                                                                                     —   CALIFORNIA

                             $000
                                                                                         300   350




                                     ES Figure 5: Cost of All Cases By Circuit



    Average and Median Cost of Cases by State: Further evidence that
    the high average and median cost of Ninth Circuit cases is driven by
    the costs of California cases is shown in ES Figure 6 below, a
    comparison of costs by state. Note that for most states, the median
    cost is lower than the average cost, again indicating that in most states
    low-cost cases outnumber high-cost cases. The high average costs and


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    the large number of California cases mean that California cases
    account for $58 million, or 57 percent, of the total national cost of
    $102 million.
                             $400,000



                             $350,000



                             $300,000



                             $250,000
     Avg. Co s t Pe r Case




                             5200.000                                                                                             =Average
                                                                                                                                  —o—Median

                             5150.000
                                                                                                                    7,

                             $100,000



                              $50.000



                                 0-     DE PA MD NC SC VA LA MS TX OH TN II. IN AA 1.10 NE AZ CA D IAT M/ WA CO Ci< UT AL FL GA
                                        5 10 10 20 19 52   4 11 115 50 IS 34 6    16 56 7 44 10613   1  6  5 2 49 4 9 3814

                                                                   State and Number of Cases 1992 to 1998



                             ES Figure 6: Average and Median Cost of Federal Capital Habeas
                                                  Corpus Cases by State


    Average Cost of Cases by District:                                             PwC also analyzed average case
    costs by district for districts with more than 10 cases in the OA Panel
    Attorney Payment System database (see ES Figure 7 below). All
    California districts had a very high average case cost (and median case
    cost), ranging from California Eastern's $300,000 to $436,000 in
    California Northern (California Southern is not shown because it only
    had one case). No other district outside of California approached the
    average California case cost, although many of the non-California
    Ninth Circuit districts had relatively high average costs compared to
    non-Ninth Circuit cases. This suggests that part, but only a small part,


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    of California's high costs can be attributed to factors relating to the
    Ninth Circuit as a whole.


          $500,000.00


          $450,000.00


          $400,000.00


          $350,000.00


          $3
           300,000.00
     is
     18
                                                                                                                           1=1Avorago
          $250,000.00
                                                                                                                               Modfan

          $20000.00


          $150,000.00


          $100,000.00


           $50,000.00


                $0.00
                        RCA RCA VAR SAW TXE 3104 31(5 TXW ORN OHS IL1.1 ARE 500 MOW       PZX CAC CAE CAN 10X NV% 000FLM

                        13 16    38 10   22    43 25 21 20      31   26 14 28 27 44 81 38 36 13 15 37 21
                                                       District/Number of pesos Per DIstrict




     ES Figure 7: Average and Median Cost Per Case By District (Districts
                                              With More Than 10 Cases)

    Average California and Non-California Costs:                                               The average cost of a
    case originating in California was $372,029, and the average cost of a
    non-California case was $70,360. Most of the difference between
    these two averages ($301,669) is due to the additional out-of-court
    hours that California attorneys work, as shown by the following
    breakdown of the difference in averages:
    0 $170,349 is due to the additional out-of-court hours worked by
          California attorneys (an average of 2,180 hours for California cases
          compared to an average of 578 hours for non-California cases);




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        • $60,253 is due to the higher attorney hourly rates in California
             ($133.90 average per hour for California cases, compared to
             $106.30 average per hour for non-California cases); 12
        • $35,888 is due to higher expert costs in California cases (an
             average of $39,462 in expert costs in California cases, compared to
             an average of $3,574 in non-California cases);
        • $31,360 is due to higher attorney expenses in California cases (an
             average of $35,566 in California cases, compared to an average of
             $4,205 in non-California cases); and
        •    $3,831 is due to additional in-court attorney fees in California (an
             average of 134 in-court hours in California cases, compared to an
             average of 106 in-court hours in non-California cases).
        This breakdown is shown graphically in ES Figure 8.




                                                                            IIIDIlloronce In Oul-ol.Court Hours
                                                                            1210311erento In Out-ol•Court Sabo
                                                                            DIAlerenoe In Mornay Expenses
                                                                            CIDalerence in Expert Costs
                                                                            SDIllerence in In-Court Fees
                                                                            1:JAvrt Non CA Case Cost




            ES Figure 8: The Cost Difference Between the Average Case Cost in
              Non-California Cases and the Average Case Cost in California



   12   The hourly rate is now capped at $125 by statute.
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    Of the $170,349 resulting from the difference in out-of-court hours,
    almost half (45 percent) was due to additional time spent performing
    legal research and writing, as shown below in ES Figure 9. California
    attorneys spent, on average, 135 more hours reviewing the (typically
    much longer) trial record than their non-California counterparts (188
    hours for California cases compared to 53 hours for non-California
    cases) for an additional cost of $14,377, and 89 more hours consulting
    with experts (107 hours for California cases compared to 18 hours for
    non-California cases) for an additional cost of $9,507.




                                                          Other
                                                          12%



                                                       Interviewing Client
                                                               3%
                                                    Witness Interviews
                                                             3%
                                                Consulting Experts
                                                       6%
                                     Review Record
                                          8%



      ES Figure 9: Additional 1,600 Attorney Out-of-Court Hours Spent in
      California Cases Compared to Non-California Cases Broken Down by
                                    Activity


    Average California and Non-California Costs By Stage of
    Proceeding: The greatest difference between the average cost of a
    California case compared with a non-California case can be attributed
    to the difference in costs incurred during the habeas petition stage

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    (approximately $330,000 for California cases, compared to $50,000 for
    non-California cases).


    An evidentiary hearing in California is also more costly
    (approximately $113,000 for California cases compared to $20,000 for
    non-California cases).

            5350.000


            5300,000


            $250,000


       • $zoomo                                                                          =Avg Nan-CA
                                                                                         MEI Avg CA
       °
       co
                                                                                             MedianNon-CA
       •    $150,000                                                                         Median CA


            $100,000


             $50,000


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                                              Sta ge of Proceedin g



     ES Figure 10: Difference Between Average Cost of Stage of Proceedings
                    for California and Non-California Cases


   1.5 Factors Driving Costs                    of    Federal Capital Habeas
            Corpus Cases

     Many factors drive the costs of federal capital habeas corpus cases. 13 A
     statistical analysis of the impact of nine factors on the costs of 84 non-



   " The factors driving the costs of all cases may differ from the factors that explain why the costs
   of California cases are greater than the costs of non-California cases.

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    California cases only accounted for only 14 percent of the total costs. 14
    This supports the notion that the costs of cases are typically based on
    case-specific factors, such as the complexity of the petitioner's
    personal background, the particulars of the circumstances surrounding
    the crime, and the idiosyncrasies of the state trial. These factors are
     difficult to quantify and include in a statistical model.


     PwC therefore sent out a survey to CIA panel attorneys as part of this
     study. The survey results showed that the attorneys believe the
     following factors are the most important in driving the costs of cases.
     The factors are listed in descending order of importance:
     •    The level of competency of state trial counsel: More than 80
          percent of the attorneys who were surveyed raised "Ineffective
          assistance of counsel" (at the state trial) as a habeas claim. A poor
          defense by counsel at the initial trial often leads to
          underdevelopment of the facts of the case.
     •    The lack of development offacts during the state trial: At the
          federal habeas corpus stage, an underdeveloped case may, in turn,
          lead to more investigation, research, and development of an
          argument of ineffective assistance of trial counsel. Such
          investigation and research typically occurs years after the initial
          trial, and can be time-consuming and costly.
     •    The degree of legal research required, especially for new or
          original claims: New claims (that is, claims for which a precedent


   " These factors were: attorney experience; size of trial record; number of habeas corpus claims
   raised; whether investigation at trial involved travel to other states; continuity of counsel from
   state to federal post-conviction proceedings; number of state post-conviction proceedings; denial
   of attorney requests (for experts, attorney fees, and for evidentiary hearings) at the federal post-
   conviction proceedings; denial of a request for an evidentiary hearing at the state post-conviction
   proceeding; and whether funding was provided for the state post-conviction proceeding.
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          has not been set) typically require more hours spent in research and
          writing than claims which follow precedents.
     •    The complexity of the petitioner 's personal background: The
          complexity of the petitioner's personal background and the
          idiosyncrasies of the state trial (which may give rise to habeas
          claims) also play a part in affecting costs. The degree of
          complexity of these issues can differ significantly from case to
          case. But these issues provide the basis for habeas petition claims
          and can therefore dictate the number of hours spent in
          investigating, researching and writing, and developing the case.
     •    The "aggressiveness" of the state attorney general: The attitude
          and tactics of the state attorney general's office can increase costs
          in a number of ways. For example, decisions by the attorney
          general's office to raise, rather than waive, the exhaustion defense'
          can increase the amount of time spent in litigation and prolong the
          entire judicial process. The strategy of the California Attorney
          General's Office in litigating claims is believed to have a major
          impact on the costs of cases in California, as discussed below.


   1.6 Factors Explaining the Cost Differential Between
           California and Non-California Cases

     PwC identified several possible reasons for the regional difference in
     average costs. However, in linking these reasons directly to costs,


   " The exhaustion defense is an argument that petitioner's counsel did not raise all the claims
   contained in the federal habeas corpus petition in the state courts, either on direct appeal or in
   state post-conviction proceedings. If petitioner's counsel did not exhaust all clnims during the
   state proceedings before filing in federal court, the federal court can require the petitioner to
   present the claims to the state court before continuing the federal proceedings.

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    PwC encountered two problems. First, while the OA Panel Attorney
    Payment System Database shows the amount of time spent on specific
    tasks, there is no way of knowing from the database the causes for time
    being devoted to those tasks. Secondly, many of the factors identified
    are related and mutually reinforcing, creating a set of interlocking
    factors that create a high-cost environment. For example, a
    perfunctory state post-conviction process that results in an
    undeveloped case may lead to high investigation costs at the federal
    level as the petitioner's counsel investigates the facts. Similarly, if the
    federal court requires rigorous review of the facts of the case,
    investigation costs may also be high. When these two factors are
    combined—that is, when the state has a perfunctory post-conviction
    process and the federal court requires rigorous review of the facts of
    the case—investigation of the case at the federal level may become
    very costly. In this case it is almost impossible to separate the relative
    importance of the two factors. It is the combination of the two factors
    that drives costs.


    The two factors described above are typical of California state and
    federal court processes. A state that exhibits one, but not both of these
    characteristics, may have relatively low costs. For example, compared
    to other states and similar to California, Texas has a relatively cursory
    post-conviction review process at the state level. But when cases reach
    the federal courts, Texas cases do not receive the attention afforded
    California cases. This is one reason why Texas, unlike California, is a
    low-cost state.



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    Despite these problems, there is anecdotal, circumstantial, and
    quantifiable evidence that supports the following reasons as being key
    factors that affect costs. However, the relative significance of these
    reasons cannot be accurately determined.


     The Litigation Strategy Employed by the California Attorney
     General's Office: One factor that emerged during the case studies was
    the litigation tactics used by the California Attorney General's Office. 1 6
    For example, attorneys interviewed by PwC stated that the California
    Attorney General's Office will rarely waive the exhaustion defense
     (see footnote 15). Eighty-three percent of the California attorneys
     surveyed by PwC, but only 38 percent of non-California attorneys
     surveyed, stated that their cases were, at one point, pending in the
     federal court while simultaneously in the state court for exhaustion
    proceedings. This delays the federal proceedings while the case is in
     state court, potentially increasing costs. Attorneys need time to review
     the case and new statutory and case law following the state
     proceedings. Attorneys also need to renew contact with witnesses and
     experts.


     hi addition, since the Anti-terrorism and Effective Death Penalty Act
     (AEDPA) was passed in 1996, the California Attorney General's
     Office has litigated the application of the AEDPA in every case—a
     practice unique to California. An alternative strategy used in other
     states is to litigate the issue once in a test case in federal court and use
     the result as precedent, thereby limiting the number of these AEDPA-


   " A new California Attorney General was elected in the 1998 elections.

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    related hearings. The attorneys interviewed for the case profiles
    provided many examples of the California Attorney General Office's
    litigation practices in this regard.


    This type of litigation strategy is familiar to attorneys who practice in
    California, but it is difficult to quantify the financial impact of such
    strategies. More litigation results in more time spent out-of-court
    preparing motions and undertaking legal research and writing. A
    hypothetical example demonstrates how an intensive litigation strategy
    could potentially increase out-of-court attorney fees and hence costs.
    For example, if two attorneys each spend an additional 80 out-of-court
    hours (or 2 weeks each), at a rate of $125 per hour responding to issues
    raised by the California Attorney General's Office, the additional cost
    to that case would be $20,000. If the response took 400 hours (or 10
    weeks) each, the additional cost would be $100,000.


    Judicial Practices and Jurisprudence of the California State and
    Federal Courts: These factors can have a very direct impact on the
    cost of cases. For example, the combination of relatively limited state
    post-conviction proceedings and thorough federal post-conviction
    proceedings adds to costs in a variety of ways. Differences in the
    jurisprudence between the Ninth Circuit Court of Appeals and the
     California federal district courts can also lead to more time being spent
     by attorneys as the case goes from federal district to federal circuit
     court and possibly back to the district court again. Some of the most
     important jurisprudential factors that affect costs are as follows:
     • Provision offunding for investigation and experts by the federal
         courts. Federal capital habeas corpus attorneys in California cases

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        spend $15,000 per case on investigators compared to $1,600 in
       non-California states at the federal post-conviction level. This is in
       part to make up for factual underdevelopment of the case at the
        state post-conviction level. For example, according to attorneys
        surveyed, requests for discovery at the state level are more often
        denied in California than in other states: in California, 88 percent
        of requests for discovery were denied, as opposed to 59 percent of
       requests for discovery in other states.
    • The granting of evidentiary hearings at the federal level because
        the state courts deny evidentiary hearings at the state post-
        conviction stage. The average cost, including costs for expert
        services, of an evidentiary hearing in the federal courts in
        California is $112,800 compared to $20,200 in other states.
        Moreover, evidentiary hearings are more common in California
        federal courts than in the federal courts in other states. Of cases
        that have progressed to the appeal stage, 42 percent of the
        California cases had an evidentiary hearing, compared to only 11
        percent of the non-California cases. This is probably related to the
        fact that requests for evidentiary hearings are routinely denied
        during the state post-conviction proceedings in California. In their
        responses to the PwC survey, California attorneys indicated that
        requests for evidentiary hearings at the state level were denied or
        sharply reduced. By contrast, non-California attorneys responded
        that such requests were minimally reduced. The federal courts may
        hold an evidentiary hearing to promote the complete development
        of facts that in other states are revealed during the state post-
        conviction evidentiary hearing.


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     • California cases are more likely to have an interlocutory appear
         than cases from other states. Of 129 cases covered in the survey,
         65 percent of the California cases had an interlocutory appeal to the
         circuit court, whereas only 22 percent of non-California cases had
         an interlocutory appeal. Interlocutory appeals increase the amount
         of time spent on a case because attorneys need to prepare and
         respond to filings related to the appeal.


     Note that the costs of all cases—both California and non-California
     cases—are reviewed and approved by the judicial officer presiding
     over the case. Judges in the Ninth Circuit are little different from
    judges in other circuits with respect to the percentage of claimed
     attorney fees and expenses they approve. According to the CJA Panel
     Attorney Payment System database, Ninth Circuit judges approve 97
     percent of claimed costs whereas judges in all other circuits combined
     approve 95 percent of claimed costs. While these approval ratios are
     similar, there is a large difference in the dollars approved, because
     claimed costs are significantly higher in the Ninth Circuit (and
     particularly in California) than in other circuits. Even though Ninth
     Circuit judges have expressed concern about the high costs of this type
     of case (and have taken steps to reduce costs), the high approval ratio
     implies they believe that most claims for fees and expenses have
     reasonable grounds in the context of current laws and judicial
     procedures.




   " An interlocutory appeal occurs when a federal circuit court will hear and rule on an issue
   before the federal district court proceedings are complete.

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    Adoption of a Rigorous Evaluation of the Petitioner's Mental
    Health: In California, an examination of the petitioner's mental health
    is common during the federal habeas proceeding, and the petitioner's
    attorneys generally use the services of mental health experts. Direct
    costs resulting from the more frequent use of experts amount to an
    additional $8,000 spent on psychologists and psychiatrists in an
    average California case, compared to an average non-California case.
    In addition, California attorneys spend more time—and therefore more
    money—consulting with such experts and performing their own
    investigation in this area.


    Use of Panel Attorneys from Large Corporate Law Firms:         Beginning
    in the late 1980s, a shortage of panel attorneys in California led the
    federal courts to ask large corporate law firms to represent federal
    capital habeas corpus petitioners. This practice has since largely
    stopped, but some cases in the study include costs of representation by
    panel attorneys from these firms. In a limited review of the 36 most
    expensive California cases, PwC asked an attorney familiar with these
    cases to identify the counsel for the petitioners who worked for large,
    corporate law firms. This led to a list of 33 civil attorneys who
    provided representation in these cases. The total payments to these 33
    attorneys contributed $88,441 to the average cost of all California
    cases. In other words, removing the vouchers submitted by these civil
    attorneys would lead to a drop in the average cost of a California case
    from $372,029 to $283,588, a decrease of 24 percent.


    Of course, this does not mean that all these costs could have been
    avoided if criminal attorneys had been appointed instead of civil
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     attorneys. The work performed by the civil attorneys would have been
    performed by someone else. Nevertheless, it is reasonable to suppose
    that some of the time billed by these attorneys, who most likely were
    inexperienced in representing habeas corpus and capital cases, was for
    hours spent learning the notoriously complex federal capital habeas
    corpus case law. Corporate law firms are accustomed to billing for
    however many attorney hours it takes to research complex legal issues,
    a practice different from smaller, criminal law firms.


    Moreover, on average these 33 civil attorneys spent three times as
    much on non-travel expenses as criminal attorneys ($64,139 compared
    to $22,534 per case). This, also, this may reflect the different billing
    practices of large corporate law firms compared to smaller, criminal
    law firms.


    The Relatively High Cost of Living in Cahfornia:         As noted above,
    the difference in the higher attorney rates in California, compared to
    rates in other states accounts for approximately one-fifth, or $60,000 of
    the $300,000 differential in average costs of California cases relative to
    non-California cases.


    Other Factors: In addition to the factors presented above, there may
    be other factors, more difficult to pinpoint, that contribute to the high
    average cost of a case in California. During this study, several people
    commented that the legal "culture" of California contributes to the high
    costs. Where possible, PwC has tried to identify the particular
    elements of the culture that may add to costs, such as the strategy used
    by the California Attorney General's Office, or the adoption of a
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    rigorous evaluation of the mental health of the petitioner. However,
    other factors related to California's legal culture may be too nebulous
    to measure easily.


    Further, many of the factors presented in this report are related and
    mutually reinforce each other, sustaining a relatively high-cost
    environment. The rest of the report considers the costs of federal
    capital habeas corpus cases, and the reasons for these costs, in more
    detail.




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   Section II:          Background to Study

   11.1 The Defender Services Program

    The Sixth Amendment of the United States Constitution guarantees an
    accused person the right to counsel in criminal prosecutions. When the
    Congress passed the Criminal Justice Act (CJA) of 1964, it ensured
    this right to representation in federal courts by establishing, within the
    judicial branch, a program to provide compensation and
    reimbursement of expenses for attorneys appointed to represent
    petitioners otherwise unable to afford representation in federal criminal
    and related proceedings (18 U.S.C. 3006A). The Administrative
    Office of the U.S. Courts (AOUSC) operates the Defender Services
    Program to compensate and reimburse attorneys appointed to represent
    such petitioners.



    The mission of the Defender Services Program is to ensure that the
    right to counsel guaranteed by the Sixth Amendment, the CJA, and
    other congressional mandates is enforced on behalf of those who
     cannot afford to retain counsel and necessary defense services. The
     goals of the program are to:

     1. Provide assigned counsel services to all eligible persons in timely
         fashion;
     2. Provide appointed counsel services that are consistent with the
         best practices of the legal profession; and
     3. Provide cost-effective services, limiting increases in costs to those
         due to inflation and those necessary to respond to changes in the

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         law or changes in prosecutorial, judicial, or law enforcement
         practices.


    In FY 1999, to carry out its mission and goals, the Defender Services
    Program was appropriated $360 million.


    In general a Federal Public Defender Organization, Community
    Defender Organization, or private attorneys who serve on a panel
    designated or approved by the court provide representation. These
    panel attorneys submit vouchers to the court for time and expenses.
    Funding for these expenditures is provided in the Defender Services
    appropriation. For death penalty cases (including federal capital
    habeas corpus cases), panel attorneys, who provide the majority of
    representations, are compensated at a rate and in an amount determined
    by the presiding judge to be reasonably necessary to obtain qualified
     counsel, with a statutory limit of $125 per hour for cases beginning on
     or after April 24, 1996. The presiding judge also approves the amount
     of funding provided for experts and other associated expenses for each
     case. In cases beginning after April 24, 1996, expenditures for
     investigative and expert services are limited to a total of $7,500 unless
     the district court finds that a higher sum is warranted for "unusual"
     set-vices and that finding is approved by the Chief Judge of the circuit.


   11.2 The Cost of Federal Capital Habeas Corpus Review

     In the past few years, the House and Senate Appropriations
     Subcommittees on the Departments of Commerce, Justice, and State,
     the Judiciary, and related agencies have grown increasingly concerned

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       over growth in costs of the Defender Services Program. In particular,
       the subcommittees were concerned about the cost per representation
       and what is believed to be different rates of cost growth for specific
       judicial districts and types of cases. In attempts to explain costs to
       Congress, the AOUSC has produced several reports explaining why
       total costs for death penalty cases were growing at a significantly faster
       rate than the increase in the number of annual representations. In
       1997, the Administrative Office, following discussions with
       Congressional Appropriations Subcommittee staff, engaged the
       services of the consulting firm Coopers & Lybrand L.L.P. (C&L) to
       help develop a report entitled "The Report on Costs and
       Recommendations for the Control of Costs of the Defender Services
       Program." C&L made the following summary finding:


           Defender Services Program costs are in line with what one
           would expect from the increase in the number of
           representations, the increasing proportion of capital and
           capital habeas representations, and the costs incurred in a
           handful of extraordinarily costly representations each year.-ls


       C&L's analysis of six years of federal capital habeas corpus data also
       showed that the Ninth Circuit, driven by the California districts,
       accounted for 60 percent to 76 percent of federal capital habeas corpus
       representation costs, but 48 percent to 63 percent of the representations




   9Report on Costs and Recommendations for the Control of Costs of the Defender Services
   Program, Executive Summary, January 28, 1998, Coopers & Lybrand, L.L.P, p. 3.

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    from FY 1992 to FY 1997 19. Because of this high proportion of costs,
    California cases drive the national average cost of federal capital
    habeas corpus cases.


   11.3 Reason for This Study

    The House and Senate Appropriations Subcommittees held their
    hearings on the Judiciary's FY 1999 appropriations requests on March
    4 and March 12, 1998, respectively. During the House hearing,
    Chairman Rogers and Judge Heybum, Chair of the Judicial Conference
    Budget Committee, discussed the finding in the recent C&L report that
    "the Ninth Circuit drives the nation's capital habeas average annual
    cost-per-representation as well as overall capital habeas costs." 2°
    Chairman Rogers expressed concern and indicated that if the judiciary
    did not address this issue, the Congress would. As a result, on March
    31, 1998, Judge Heyburn and AOUSC Director Leonidas Mecham
    wrote to Chairman Rogers outlining the following:


     • On February 27, 1998, the Judicial Council of the Ninth Circuit
         unanimously adopted a new Ninth Circuit policy that requires the
         attorneys for each capital habeas petitioner to submit a case budget
         at the beginning of each proceeding. This budget is then reviewed
         by a judge from another district to achieve a more consistent and
         proportionate use of resources. In addition, the Ninth Circuit has


   " Report on Costs and Recommendations for the Control of Costs of the Defender Services
   Program, IV Findings- 25 C&L, L.L.P, p. 25.

   " Report on Costs and Recommendations for the Control of Costs of the Defender Services
   Program, Executive Summary, January 28, 1998, Coopers & Lybrand, L.L.P, p. 12.

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       "established presumptive maximum rates for second attorneys and
       associates, paralegals and law clerks, as well as a minimum rate of
       60 pages per hour for review of case records," in addition to the
       statutory cap on hourly fees paid to attorneys. Finally, the Ninth
       Circuit has adopted a special process to review all state death
       penalty habeas corpus cases to ensure costs are reasonable arid are
       reduced wherever possible.
    • Furthermore, within the Northern District of California, the Court
       has adopted guidelines that require case management conferences
       for complex cases, set presumptive rates for experts and expenses,
       and establish requirements for seeking payments which exceed
       statutory maximums. In the Central and Eastern Districts, capital
       habeas representation units have been established within the federal
       defender organizations to allow specially trained attorneys to
       represent federal capital habeas petitioners previously represented
       by large corporate law firms. It is hoped that this measure will
       improve the quality and efficiency of federal capital habeas corpus
       representation. These steps illustrate the commitment of the Ninth
       Circuit Judicial Council to contain costs in the Ninth Circuit,
       particularly in the high-cost state of California.


    Subsequently, staff from the Administrative Office's Office of Finance
    and Budget (OFB) met with James Kulikowski, Staff Director for the
    House Appropriations Subcommittee, to discuss the letter from Judge
    Heyburn and Director Mecham to Chairman Rogers. Mr. Kulikowsld
    informed OFB staff that he had a plan to track costs of federal capital
    habeas corpus cases by circuit to: (1) ensure that Ninth Circuit
    (California) costs decrease; and (2) identify lower cost circuits to
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    determine why the costs are lower and whether procedures in place in
    those circuits could be applied to the higher cost circuits. Although the
    AOUSC can identify costs by circuit and district, only anecdotal
    information is available to explain the disparity in costs.


    This study was undertaken to enable the AOUSC to better understand
    costs associated with private attorney representation of federal capital
    habeas corpus cases and to further explain regional disparities by
    linking costs to region-specific procedures, and culture. This report
    provides explanations for the Ninth Circuit's, and more specifically
    California's, higher average costs per case.'




    21
         This report does not provide an opinion on what average or median case costs for
    representing a federal capital habeas corpus case should be. Rather, the report explains what
    the costs are when they are incurred during a federal capital habeas corpus case, and the
    regional cost disparities that exist.



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   Section III:            Federal Capital Habeas Corpus Case Life
                           Cycle

   111.1 Definition of Federal Capital Habeas Corpus

     Federal capital habeas corpus involves federal court review of a state
     capital murder conviction and a death sentence upheld by a state court.
     The petitioner—the person sentenced to death—makes a claim that his
     constitutional rights were violated at some point during the state
     proceedings." The primary function of the writ of habeas corpus is to
     release the petitioner from unlawful imprisonment or an
     unconstitutional death sentence. The office of the writ is not to
     determine the prisoner's guilt or innocence. The only issue presented
     is whether the prisoner is unlawfully restrained of his liberty.'


   111,2 Background on Federal Capital Habeas Corpus

     The writ of habeas corpus can be traced back to thirteenth-century
     common law as a way to "challenge unlawful detention of citizens by
     the executive under the English crown."' Eventually, the writ evolved
     to correct injustices that occurred during criminal trials. Petitioners
     pleaded for relief through both a summons and a court-issued order
     that gave the court the authority to question the cause for


   n Claims are typically made under the Fourth, Fifth, Sixth, Eighth, and Fourteenth
   Amendments.

   n Henry Campbell Black, Black's Law Dictionary, West Publishing Co., 1991, p. 491.

   2+ Criminal justice Policy Review,   "The Federal Habeas Corpus Process: Unraveling the Issues."
   116.

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     imprisonment. This summons and order became known as the writ of
    habeas corpus. As with any legal procedure with such longevity, the
     writ has adapted to hundreds of years of progress and change.


     Habeas corpus emerged in the United States with the writings of
     Alexander Hamilton in the Federalist Papers. The concept was
     incorporated into the Constitution, Article 1, Section 9, as a protection
     for the newly defined citizen against arbitrary imprisonment by
     governmental authorities. The value of the writ was challenged during
     the Civil War when President Lincoln imprisoned southern
     sympathizers who had settled in the North and suspended the writ as a
     means of preventing their release. The importance of the writ in the
    judicial process was affirmed when Lincoln's actions were overturned
     by the Supreme Court in the landmark case Ex Parte Milligan. During
     Reconstruction, fearing that southern states might "vengefully
     incarcerate postwar northern Reconstructionists," Congress enacted
     farther legislation allowing state prisoners the right to review by the
     federal courts, thus "federalizing protection of the writ.' In this
     century, the Supreme Court has interpreted the 1867 statute as
     "providing the federal courts with broad review of federal habeas
     petitions."26


     As the courts continued to extend to state prisoners the right to seek
     federal habeas corpus relief, and as the prison population continued to


     Criminal justice Policy Review, "The Federal Habeas Corpus Process: Unraveling the Issues."
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     Criminal justice Policy Review, "The Federal Habeas Corpus Process: Unraveling the Issues."
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     expand, the number of prisoners seeking habeas corpus relief increased
     from less than 1,000 between 1941 and 1961 to more than 12,000
     between 1962 and 1992. 2' The implications of this dramatic increase
     have been widely debated in the legal community. According to
     Professor Robert Pursley of Buffalo State University, in recent years,
     the habeas corpus debate has included four major parts:
     1. The ability of habeas corpus to postpone the imposition of a
          sentence;
     2. Jurisprudential, constitutional, and workload issues caused by the
          length of habeas corpus cases;
     3. The federal courts ability to intervene over state court decisions;
          and
     4. Recent attempts by the Supreme Court to curtail the rights of state
          prisoners who wish to seek federal review. 28


   - During the 1990s, there has been a renewed interest in habeas corpus
     reform and, more specifically, its application in capital cases. Current
     Supreme Court Chief Justice William Rehnquist noted that "statutory
     habeas corpus procedures, particularly those dealing with capital cases,
     are an area where careful reform can preserve the benefits of the Great
     Writ while rationalizing its application and eliminating the repetitive
     and time-intensive demands on the federal courts." 29


   " Criminal Justice Policy Review, "The Federal Habeas Corpus Process: Unraveling the Issues."
   118.

   28 Criminal Justice Policy Review,   "The Federal Habeas Corpus Process: Unraveling the Issues."
   120.

   " "Federal Habeas Corpus Reform: The State's Perspective" by Christopher E. Smith, The
   Justice System Journal, Volume 18,Number 1, p. 3.

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    The discussions over this issue culminated with the passage of the
    1996 Anti-terrorism and Effective Death Penalty Act (AEDPA). The
    AEDPA includes a requirement that a petitioner file a federal capital
    habeas corpus petition within a year after the state court denies the
    direct appeal. In addition, the new law:
    • Greatly restricts review of same-claim successive petitions;
    • Requires prisoners to obtain permission from a three-judge
        appellate panel before filing new-claim successive petitions;
    • Limits the issues available for federal capital habeas corpus review
        in states that establish a system for appointing and compensating
        competent counsel for state post-conviction proceedings in capital
        cases; and
    • Enacts timetables for federal courts to act on petitions brought by
        death row inmates (only if the state established a system for
        appointing and compensating counsel in state post-conviction
        proceedings in capital cases).


    The AEDPA follows a national strategy of implementing more
    stringent sentencing laws, increasing law enforcement, and ultimately
    limiting opportunities for federal capital habeas corpus review.
    Because this law was only recently enacted, its effects on the cost of
     federal capital habeas corpus cases have yet to be seen.


   111.3 The 9 Stages of Capital Litigation

     This section describes how a capital case typically moves through the
     state and federal court system. Each step is numbered to allow for

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    easy identification of the stages. It should be noted that the federal
    capital habeas corpus stage begins at Stage 7. However, what occurs
    during previous stages determines how a capital case proceeds through
    federal capital habeas corpus review. For this reason, all nine stages,
    as illustrated in Figure III-1, are discussed here.



                                                                      6
            Petition for Certiorari                                   (Petition for Certiorari                                   Petition for Certiorari
           Review in United States                                    Review in United States                                   Review in United States
                Supreme Court                                             Supreme Court                                          • Supreme Court



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                                                                        5
                                                                             Appeal of State                                          (b) Life./Death •
                                                                            Collateral Review                                      (a) Innocence/Guilt
                                                                                Decision                                                   Trial




          -1                                                                                                                         Peritioafor Writ
                  (b) Life/Death                                                                                                     of habeas Corpus
                                                                             State Collateral
               (a) Innocence/Guilt                                                                                                             District.f.
                                                                                 Review
                       Trial                                                                                                                 Court



     .   ..This portrayal was provided by Mark Olive, capital habeas litigator and trainer for the habeas Assistance and Training Project.


                                   Figure 111-1: The Stages of Capital Litigation


   (1) State Trial and Sentencing

    A state capital trial is conducted in two independent stages. First, in
    the "guilt phase," the jury or judge decides whether the prosecution has
    proved beyond a reasonable doubt that the defendant is indeed guilty
     of a capital crime. Second is the "sentencing phase," in which the
     prosecution may present evidence and argue the existence of

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    "aggravating factors," circumstances such as the defendant's prior
    criminal record, which may weigh in favor of a death sentence. In the
    same proceeding, the defense may present evidence and argue the
    existence of "mitigating factors," circumstances such as the
    defendant's lack of a prior criminal record, which may weigh against
    the imposition of a death sentence. The judge or jury then must
     consider the aggravating and mitigating factors and decide whether or
    not to impose the death penalty.' As a result of this two-step process,
     a capital case is more complicated than a non-capital case, because
     attorneys must not only investigate the crime and prepare for the guilt
     phase, but also must prepare for the sentencing phase. To complicate
     matters further, these cases often involve complex crimes and
     defendants with complex histories or psychological backgrounds.


     Most states have the two-step, or bifurcated system described above.
     However, California has a three-step, or trifurcated system. In the first
     step, the court decides whether the defendant is guilty of the crime. In
     the second step, separate hearings are held to determine whether or not
     the offense is a capital offense. Finally, in the third step, the court
     weighs the aggravating and mitigating factors in deciding whether the
     defendant should receive the death penalty. Thus, the three steps are:
     1. Decision as to whether or not an act of first-degree homicide was
         committed;
     2. Decision on whether or not the homicide was a capital offense; and




   " For most capital cases, juries must choose between the death sentence and life without the
   possibility of parole.

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     3. Comparison of the aggravating and mitigating factors and decision
         as to whether or not to impose the death penalty.'
     The added step (step 2) increases the complexity and cost of
     California's state capital cases. In addition, this system partly explains
     why California typically has longer trial court transcripts than other
     states.


     If the petitioner is found guilty and sentenced to death, he or she may
     initiate a direct appeal (stage 2). Depending on state law, the trial
     court may set an execution date immediately after sentencing, or no
     date may be set until after the direct appeal has been completed.


   (2) Direct Appeal

     In some states, the defendant must appeal a conviction and a death
     sentence directly to the state supreme court. In other states, the
     petitioner must go through an intermediate circuit court of appeals
     before reaching the state supreme court. In a direct appeal, the
     petitioner's counsel can raise only those issues which appear on the
     trial record. 32


     This is the last stage in which representation by counsel is guaranteed
     by the Constitution. As a cost-cutting and timesaving measure, state
     courts often assign the same attorney who represented the petitioner


   " Telephone conversation with Professor James Liebman of Columbia University Law School
   on October 9, 1998.

   " For example, an improper jury instruction would appear on the court record and, therefore,
   could be raised in a direct appeal. However, jury misconduct that occurred out of court could
   not be raised until step 4, the State Collateral Review.

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    during the original trial to the direct appeal. If a new attorney is
    appointed to the case, then he or she must quickly learn the case,
    mainly by reading the trial record. In the appellate briefing, the
     attorney must raise all issues that indicate that the petitioner was
    incorrectly convicted or sentenced. If the direct appeal is denied by
    the state's highest court, the appellant's next option is to petition for
     certiorari review in the U.S. Supreme Court.


   (3) Petition for Certiorari Review in U.S. Supreme Court

    The petitioner may or may not choose to petition the U.S. Supreme
     Court for review by writ of certiorari. The right to Supreme Court
    review is not constitutionally guaranteed; the Supreme Court does not
    have to hear every criminal case that petitions for review, but may, if it
     so chooses, hear individual cases. In addition, at this point, legal
    representation is not guaranteed. Some states compensate counsel for
    preparation of a certiorari petition; in others, representation may be
    provided pro bono or by a local legal aid or defender organization. If
     certiorari review is granted, a briefing is prepared and an oral argument
    held before the Court. The petitioner may raise only those issues
    previously presented to the state courts on direct appeal. If certiorari is
     denied, the appellant has the choice of pursuing state collateral review
     or filing a federal capital habeas corpus petition in federal district
     court.


   (4) State Collateral Review (Post-Conviction Proceedings)

     In addition to direct appeals, all states have post-conviction
     proceedings in which issues that occurred outside of the court record

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    may finally be introduced into state court. State post-conviction
    proceedings generally do not begin until direct appeal proceedings are
    completed and certiorari is denied by the U.S. Supreme Court. In
    some states, however, state post-conviction proceedings may begin
    while direct appeal proceedings are ongoing. To prepare the state post-
    conviction petition, all prior proceedings must be reviewed, and all
    possible claims suggested by the record and prior investigation in the
    case must be investigated. This investigation includes looking into the
    facts of the underlying offense, the petitioner's background, and other
    issues such as ineffective assistance of counsel, the state's suppression
    of exculpatory evidence, or jury exposure to extraneous information.
    There is no constitutional right to counsel in state post-conviction
    proceedings. While some states provide for the appointment and
    compensation of competent counsel, many do not. Without a thorough
    investigation by counsel, many material facts are not discovered and
   - many potential claims for relief remain undeveloped.


   (5) Appeal of State Collateral Review Decision

    In many states, post-conviction review begins with the filing of a post-
    conviction petition in trial court, often before the same judge who
    presided over the original state trial and sentencing. The trial judge
    considers the claims presented and may or may not hold an evidentiary
    hearing to develop the facts prior to the court's decision. In these
     states, if the petitioner is unsuccessful at the trial court level, he or she
    may appeal. While this appeal ultimately goes to the state supreme
     court, it often initially goes through an intermediate court. In other
     states, state post-conviction review begins with filing the post-

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    conviction petition in the state supreme court. If the court decides an
    evidentiary hearing is warranted, it may remand the case for a hearing
    before the trial court. After the hearing the case returns to the Supreme
    Court for briefing, argument, and a final ruling on the merits. Either
    way, if the petitioner wishes to exhaust his claims for federal capital
    habeas corpus review, he must present all claims to the state's highest
    court with appellate jurisdiction. Accordingly, most capital petitioners
    do so. Quite often, once state post-conviction proceedings are
    complete, the state will set an execution date.


   (6)Petition for Certiorari Review in U.S. Supreme Court

    On completion of state post-conviction proceedings, the petitioner may
    again petition for certiorari review in the U.S. Supreme Court. This
     stage is similar to stage 3 in that the certiorari petition will be
     constructed and delivered in the same way, but the petition may raise
     only those issues arising from the state post-conviction proceedings.
    This stage is not necessary to exhaust claims for presentation to the
     federal courts in habeas corpus proceedings. As counsel is generally
     neither provided nor compensated for filing a certiorari petition
     following denial of state post-conviction relief, and because of time
     pressures resulting from either an execution date or the AEDPA's
     statute of limitations, many capital petitioners bypass this stage.


   (7)Petition for Writ of Habeas Corpus in U.S. District Court

     Once stage 6 has been completed or bypassed, the case moves from the
     state to the federal court system. Stages 7 through 9 describe the
     stages of a typical federal capital habeas corpus case.

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    Figure 111-2 tracks the possible steps of litigation of a capital habeas
    case once it has reached the federal level. In federal habeas corpus
    cases, the petitioner brings his or her suit against the warden of the
    state penal institution in which he or she is incarcerated. The State
    Attorney General's office represents the warden in court. At various
    times throughout this process, the case may move up to circuit court on
    an interlocutory appeal, or may be sent down to state court to satisfy
    exhaustion requirements.


                        Lifecycle of a Federal Capital Habeas Corpus Case


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        Figure 111-2: Life Cycle of a Federal Capital Habeas Corpus Case


  Appointment of Counsel

    A federal capital habeas corpus case usually begins when a motion is
    filed for the appointment of counsel to represent a petitioner who is

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    seeking habeas corpus relief, along with a request for a stay of
    execution. The motion for counsel is filed under Section 848 of Title
    21 of the United States Code. Section 848 requires the appointment of
    at least one attorney (and allows for the appointment of two attorneys)
    for anyone accused or convicted of a capital offense.
    Section 848 also provides a statutory right to expert and investigative
    assistance in federal capital habeas corpus cases. On a case's arrival in
    the federal court, many potential claims have not yet been fully
    investigated in any of the prior proceedings. In McFarland v. Scott,
    512 U.S. 849 (1944), the Supreme Court decided that under Section
    848 an indigent capital petitioner may invoke these statutory rights to
    counsel and investigative assistance before the habeas petition is filed.
    Hence, counsel will seek funds to investigate colorable' claims for
    relief to determine if they should be included in the petition.


    Once a request for counsel and experts is made, the federal court must
    enter a stay of execution to allow for preparation of the petition. In
    order to be compensated, attorneys must file a motion in district court
    to allow a petitioner to proceed in forma pauperis (as a pauper).
    Protocol for filing this request varies by district and circuit.



   Stay of Execution

    If the state trial judge has set an execution date, the petitioner may file
    a motion for a stay of execution simultaneously with the request for
     appointment of counsel. The petitioner asks the court to vacate the


    A claim that appears worthy of further investigation and court review

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    execution date to allow time for petition preparation. If the district
    court grants a stay of execution, then the execution date is postponed,
    and the petitioner's counsel may take more time to prepare. Specific
    petition preparation time frames are discussed below. However, the
    district court may deny this motion.


   Request for Stay from Circuit Court of Appeals

    If the motion for a stay of execution is denied, the petitioner's counsel
    may file a request for a stay in the court of appeals requesting that the
     court grant a stay of execution. If the court of appeals denies the stay,
    the petitioner may request one from the U.S. Supreme Court.


   Request for Stay from U.S. Supreme Court

     If the district and appellate courts have denied a stay, the petitioner
     seeks a stay from the U.S. Supreme Court. If the Supreme Court
     denies the stay, then the petitioner's counsel must complete the habeas
    petition and receive a ruling before the execution date.


   Petition Preparation

     On appointment by the federal court, the petitioner's counsel will
     begin to prepare the federal capital habeas corpus petition. Preparing
     the petition can be an extraordinarily time-consuming task.
     Petitioner's counsel must review the record from the state trial,
     appellate, and post-conviction proceedings, conduct further
     investigations and legal research to support arguments. Trial records
     can range from 100 to 70,000 pages of text, all of which the counsel

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    must review fully to write a thorough petition. Investigation and legal
    research may also require significant amounts of time.


    According to PwC's surveys, on average, between 11 and 40 habeas
    claims were presented in a typical federal capital habeas corpus
    petition. These claims often vary in their complexity. For example, a
    claim for relief that pleads counsel's ineffectiveness for failing to
    investigate a viable alibi is likely to be more time-consuming and
    costly to investigate and document than a simple case of jury
    misconduct. The petition for the writ of habeas corpus will likely raise
    those constitutional issues that were presented to the state courts
    during direct appeal and state post-conviction proceedings. Under the
    Supreme Court's decision in McCleskey v. Zant, federal capital habeas
    counsel is required to include all colorable claims for relief in the first
    federal capital habeas corpus petition.


    For example, when investigating colorable claims for relief, counsel
    must thoroughly research the facts of the case and petitioner's
    background to uncover evidence that should have been presented to the
    jury at trial as a basis for an acquittal of the capital crime or a sentence
    less than death. This often requires the use of investigators, as well as
    mental health professionals and other experts. Investigation of the
    client's background is difficult, because a typical federal capital habeas
    corpus petitioner often has a previous criminal record or has moved
    several times throughout his life, thus limiting access to various
    witnesses and state records owing to the possibility of incurring
    prohibitive travel costs. Once complete, the petition often includes a
    lengthy appendix that references expert reports and historical records.
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    Because of the amount of resources necessary to complete a petition,
    this is generally the most costly stage in a federal capital habeas corpus
    case.


    Before 1996, the length of the petition preparation stage varied from
    one month to several years and was generally determined by the setting
    of an execution date. However, not all states set execution dates.
    Further, some states, for example, Florida, Georgia, and Texas, set
    execution dates arbitrarily—one convicted felon might not receive one
    until all state appellate and post-conviction proceedings were
    complete. The petitioner with the set execution date, therefore, has
    less time to prepare his petition than the petitioner with no set date.
    Often, the setting of execution dates and the granting or denial of stays
    determined the date by which a federal capital habeas corpus petition
    had to be filed.


    In 1996, a 1-year statute of limitations for filing a federal capital
    habeas corpus petition was enacted in the Antiterrorism and Effective
    Death Penalty Act (AEDPA). The interpretation of this statute of
    limitations provision is still being litigated, and individual federal
    courts are interpreting this time frame in slightly different ways. In
    most cases where the AEDPA applies, it appears that the time for
    petitioner's counsel to prepare the federal capital habeas corpus
    petition will be significantly shorter than before the statute of
    limitations provision was enacted. After the petition is filed, all other
    time limits are contingent on the court's orders.



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   Petition and Discovery

    Once the petition is prepared, the petitioner's counsel files the petition
    and an accompanying appendix (if necessary) in court. The petition
    must show that for each claim, the petitioner's constitutional rights
    were violated and that either the conviction or the death sentence
     should be vacated. For example, for a claim pleading the prosecutor
    unconstitutionally suppressed exculpatory evidence, the petitioner
    must present facts demonstrating that evidence was suppressed, that
    the evidence was exculpatory, and that if the evidence had been
     presented, the result of the case would have been different. A
     discovery request and a motion for an evidentiary hearing may be filed
     with the petition. Once the petition is filed, petitioner's counsel must
     wait for the state Attorney General's reply, but in the meantime, he or
     she may continue to investigate the case.


   The Answer And Motions For Summary Judgment

     The State Attorney General (AG), representing the warden of the state,
     will typically respond to the petition with an answer as well as
     opposition to any requests for discovery. In addition to, or instead of,
     an answer, the AG may file a motion for summary judgment, asserting
     that there are no disputes of material fact warranting an evidentiary
     hearing and that the state is entitled to a judgment as a matter of law on
     some or all of the claims presented in the petition.




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   Opposition to Summary Judgment

    In an Opposition to Summary Judgment, petitioner's counsel responds
    to all of the points raised by the AG. If a dispute of material facts
    exists, the petitioner's counsel may choose to file a motion for an
    evidentiary hearing.


    At this point, the judge may hear an oral argument and rule on some or
    all of the claims presented in the petition. For instance, in a case with
     10 claims, the judge may rule on four claims and grant an evidentiary
    hearing to develop the underlying facts prior to a decision on the other
    six claims.


   Evidentiary Hearing

    If an evidentiary hearing is granted, the parties may introduce new
     evidence and argue why it should be allowed. The judge then decides
    on whether or not the evidence is credible, and on whether or not it
    demonstrates that the petitioner is entitled to habeas corpus relief.


    The time dedicated to preparing to present evidence and question
     witnesses in a federal capital habeas corpus evidentiary hearing can be
     enormous. Many experienced federal capital habeas counsel
     described the preparation required for an evidentiary hearing as similar
     to that required for an entire capital trial. In particular, the
     coordination in serving subpoenas and working out the logistics of
     getting experts in court to testify is time-consuming and costly.
     Petitioner's counsel must pay experts for interview time, preparation
     time, time spent waiting outside of the courtroom to testify, travel

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    expenses, and so forth. The evidentiary hearing is followed by a post-
    hearing briefing during which petitioner's counsel must convince the
    judge of the significance of the facts presented at the hearing and
    demonstrate that relief is warranted.


   Oral Argument

    At any time during the federal capital habeas corpus process, the judge
    may request an oral argument to clarify points or to receive additional
    information. To prepare for the hearing, petitioner's counsel must
    thoroughly review the relevant documents, the supporting case law,
    and practice delivery of his or her argument. On listening to the
    arguments delivered during the hearing, the judge may rule on various
    issues or take new information under advisement.


   Motions to Alter or Amend Judgment/ Notice of Appeal

    The petitioner's counsel has 10 days after entry of the judgment in
    which to file a motion in district court to alter or amend the district
     court's decision under Rule 59 of the Federal Rules of Civil Procedure.
     A Rule 59 motion asks the district court to reconsider its decision.
     Rule 59 motions are usually denied in federal capital habeas corpus
     cases. 34 However, the judge may grant the Rule 59 Motion and alter
     the judgment in some material manner. For example, if the district
     court initially decides to deny habeas corpus relief, it may reconsider
     and decide to grant relief. If the motion is denied, then petitioner's




    Discussion with Mark Olive, October 8, 1998.

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    counsel must decide whether to appeal to the circuit court of appeals.
    This is another point in time when the state may set an execution date.


    To appeal, petitioner's counsel must file a notice of appeal in the
     district court and request a Certificate of Appealability (which used to
    be called a Certificate of Probable Cause) from the district court. If
    the district judge believes that there are no substantial questions
     warranting further review, it can deny the petitioner's request for a
     Certificate of Appealability. Petitioner may then seek a Certificate of
     Appealability from the circuit court of appeals. If the Certificate of
     Appealability is granted, the district court will transcribe any necessary
     hearings from the proceedings. Generally, the petitioner's counsel
     must designate those portions of the record which counsel would like
     to be made part of the appeal within 30 days of filing for the appeal.


   (8) Appeal of District Court Decision in the Circuit Court of Appeals

     On certification by the district court that the transcripts have been
     prepared, the circuit court of appeals will set a briefing schedule. The
     petitioner's brief may raise various claims arising from the district
     court proceedings. Then, the state must file an answering brief, and
     petitioner's counsel can file a reply brief. At any time, the court may
     ask questions or request supplemental briefs to further explain
     particular issues.


     Once the opening brief, answering brief, and reply brief are filed, the
     case goes before a three-judge panel. The judges select an oral
     argument date that is usually held 2 to 4 months after the last reply


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    brief has been submitted. Each side is provided with 30 minutes to
     state their arguments. After the hearing, the judges may or may not
    request supplemental briefing. Once the case has been fully briefed
     and argued, the judges will rule on the case. The circuit court of
     appeals may rule on the merits of petitioner's claims, or may remand
     the case back to district court for additional consideration. For
     example, if the district court failed to hold an evidentiary hearing on
     one or more of petitioner's claims, the circuit court of appeals may
     order the district court to hold a hearing.


     If the circuit court grants habeas corpus relief, the state will likely
    petition for writ of certiorari to the U.S. Supreme Court. If the circuit
     court panel affirms the district court's denial of habeas corpus relief,
    the petitioner can seek a rehearing from the court of appeals, suggest
    that all the judges on the court of appeals rehear the case en bane, or
     seek certiorari review in the U.S. Supreme Court.


   (9) Petition for Certiorari Review in U.S. Supreme Court

    A petition for writ of certiorari must be filed in the Supreme Court
    within 90 days after the circuit court's final decision. Often, a petition
     will be filed sooner, if an execution date is quickly approaching. There
    is no right to appeal to the Supreme Court, and the Supreme Court
     grants review in only a few federal capital habeas corpus cases each
    year. If certiorari review is granted, the case is briefed and argued
    before the Court. If certiorari review is denied, the proceedings on
    petitioner's first federal capital habeas corpus petition are complete.



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     Ultimately, if habeas corpus relief is granted as to the petitioner's
     conviction, the case returns to the state trial court for possible retrial.
     If relief is granted only as to the death sentence, the case may be
     returned to the state trial court for a new sentencing trial. If habeas
     corpus relief is denied, the petitioner may seek authorization from the
     circuit court of appeals to file a second habeas petition in the district
     court. Authorization by the U.S. Supreme Court to hear the case will
     likely be denied, and the petitioner will be executed.


     One of the final options available for the petitioner is an application to
     the governor's office for a clemency proceeding. If the governor
     grants a clemency proceeding, the petitioner may argue his case to the
     governor and, after reviewing the evidence presented, the governor will
     decide whether to vacate the petitioner's death sentence. If the
     governor denies a clemency proceeding or grants a clemency
     proceeding but denies clemency, then the death sentence remains. If
     the governor vacates the petitioner's sentence, a trial court must re-
     sentence the petitioner.




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   Section IV:            Methodology

   IV.1 Overall Methodology

    PwC, in cooperation with the AOUSC, developed a methodology to
    examine the costs, and the factors driving the costs, of federal capital
    habeas corpus cases. The methodology involved combining findings
    from three data sources:
     1. The C.TA Panel Attorney Payment System database, which contains
         information on the costs of and hours spent on OA panel attorney
         cases 35  ;




    2. A total of 129 responses to a survey sent out to approximately 400
         panel attorneys; and
     3. A case study of seven separate cases, which included interviews
         with the panel attorneys who provided representation in those
          cases.


     Using data and information from these sources, PwC conducted three
     different types of analyses:
     1. Data analysis: analysis of the cost components of federal capital
          habeas corpus cases using data from the CJA Panel Attorney
          Payment System database;
     2. Statistical analysis: data, correlation, and regression analyses using
          CJA Panel Attorney Payment System and survey data; and




   " The CJA Panel Attorney Payment System database contains vouchers submitted by panel
   attorneys to the AOUSC to be reimbursed for attorney fees, expert costs, travel costs, and other
   expenses. The vouchers include in-court, out-of-court, rate, and attorney activity information.

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    3. Case study analysis: a comparison of the factors that drove the
        costs in the seven case studies.
    Together, these three sources of data and analytical methods permitted
    more comprehensive analysis than would have been possible with only
    a single data source.


   IV.2 Data Analysis Methodology

    The data analysis portion of the Defender Services study used
    information in the CJA Panel Attorney Payment System database. The
    data analysis followed a structured methodology to ensure the most in-
    depth analysis possible using this data. The methodology consisted of
    the following:
     1. Quality control;
    2. Identification of additional information; and
    3. Analysis of the data.


   Quality Control

    The cost data used in this report were extracted from the AOUSC's
     CJA Panel Attorney Payment System database. PwC's previous work
     with the database gave the team an understanding of the content and of
     the type of quality control needed. The data was converted to an MS
     Access database and stored on a secure hard drive accessible only to
     PwC team members. PwC checked to ensure that the database was
     transferred correctly to the new format. Next, PwC studied the
     contents of the database and identified possible data problems. The
     team then cleaned the database.


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    PwC identified cases with duplicate vouchers, missing data, input
     errors, and vouchers not related to federal capital habeas corpus cases.
    The list of cases was presented to the AOUSC, which then provided
     corrections or recommended removing cases from the analysis. The
     original database contained 1,021 cases with 13,168 vouchers (or 12.9
     vouchers per case). During the database cleaning, PwC removed the
     following:
     •    179 cases that did not list the stage of proceedine for any voucher;
     • 22 cases that had no vouchers submitted for attorneys;
     •    12 cases that were not federal capital habeas corpus cases; and
     • Four sealed cases.


     PwC also removed 24 cases that had started within the past 6 months.
     For this analysis, recent cases with low costs incurred would have
     skewed the results.


     At the end of the cleaning, the number of cases in the database dropped
     to 783 from 1,021, and the number of vouchers fell from 13,168 to
     12,217 vouchers.


   Identification of Additional Data

   Open and Closed Status

     After the database was cleaned, PwC identified the gaps between the
     information available in the database and the information required for


      Each voucher submitted by panel attorneys indicates to the stage to which costs should. be
   attributed. The stages include habeas petition, evidentiary hearing, dispositive motion, petition
   to Supreme Court for writ of certiorari, stay of execution, appeal or denial of stay, petition to
   Supreme Court regarding denial of stay, or other.
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    thorough analysis. A key piece of missing data was case status—
    whether cases were open or closed. This information was important in
    analyzing costs, since it would be misleading to compare the costs of
    completed cases with those that are still incurring costs. To collect
    this information on case status, PwC first performed independent
    research to find publicly available case status information. By
    contacting non-profit organizations that collect information on death
    penalty appeals, the team determined open or closed status for
    approximately half the cases. For closed cases, PwC also obtained
    information on case disposition. The Death Penalty Information
    Center, for example, provided information on recent executions.
    In addition, PwC classified two sets of cases as open:
    • Cases in which at least one voucher was submitted in the last 6
         months; and
    •    Cases whose vouchers were only for the habeas petition stage.


    PwC provided the AOUSC with a list of the remaining cases
    (approximately 400 cases). The AOUSC contacted the lead attorneys
    for those cases and obtained information on:
    1.    Open/closed status;
    2.    Final disposition of a closed case;
    3.    Denial/granting of habeas petition; and
    4.    Status of appeal, if any.


   Active and Dormant Status for Open Cases

    For open cases, PwC wanted to differentiate between those currently
     incurring costs and those not incurring costs. PwC defined open cases

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    as either active or dormant. A case was defined as active if vouchers
    have been submitted in the past 2 years, or if attorneys contacted by the
    AOUSC indicated that the case is still open. Otherwise, the case was
    classified as dormant.


   Stage of Proceeding information

    The AOUSC had requested an analysis of costs by stage of proceeding.
    However, there were many vouchers for which the stage of proceeding
    was not identified. PwC identified stage of proceeding information for
    many of these by comparing the dates of vouchers for the same
    petitioner that did contain stage of proceeding information. For
    example, if a voucher submitted January 1995 did not indicate the
    stage of proceeding, but a voucher for the same case submitted three
    months later indicated that case was in the habeas petition stage, the
    January 1995 voucher was also classified as a habeas petition stage
    voucher. At the end of this process, approximately 90 percent of the
    vouchers contained information on the stage of proceeding.


   Data Analysis

    PwC first analyzed all cases to show national trends and cost drivers.
    This analysis was performed for all cases, open cases, and closed cases.
    As only 152 of the 783 cases under study were closed, PwC analyzed
     cases by individual stage of proceeding, circumventing the problem
     noted above of comparing costs of open cases with costs of closed
     cases. In this way, PwC was able to integrate both open and closed
     cases into the study.


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     PwC conducted similar analyses by circuit and state, focusing on high-
     cost stages. PwC also selected two groups of states to analyze further
     to identify the cost disparities between California cases and cases from
     other states:
     I. Ninth Circuit states; and
     2. The six states from which the case studies were taken.


     Ninth Circuit costs were analyzed to compare the costs of states within
     the high-cost circuit. The case study states were selected to examine
     regional disparities in costs, particularly between California and lower
     cost states. These states all had multiple cases as well as a mix of
     high-, medium-, and low-cost cases. The states chosen for each
     comparative analysis were:


                Ninth Circuit States         Case Study States
                 California                  California
                Arizona                      Texas
                 Washington                  Pennsylvania
                 Nevada                      Alabama
                 Idaho                       Missouri
                                             Illinois


IV,3 Survey Methodology

    Survey Design

     The CJA Panel Attorney Payment System database does not contain
     data on case-specific or geographical factors that cause disparities in


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    time or costs in different cases. For example, factors such as the
    complexity of case and judicial attitudes are not documented in the
    CJA Panel Attorney Payment System database or elsewhere.
    Therefore, PwC designed a survey aimed at collecting information to
    supplement data from the CJA Panel Attorney Payment System
    database. The survey was designed through a collaborative effort
    between PwC, federal capital habeas corpus litigators, and
    representatives of the Defenders Services Division of the AOUSC. A
    copy of the survey is provided in Appendix B.


   Case Selection

    Because of the time and costs involved in collecting information on all
     cases in the database, PwC sent surveys to a sample of attorneys
    representing 392 of the total 783 cases. The sample was selected based
    upon the following criteria:
     • 295 cases that had reached the appellate level;
     * 47 cases with comparatively low costs; and
     •   50 cases with comparatively high costs.


     Of the 392 surveys sent, 129 (32 percent) were returned. On receiving
     the data, PwC consolidated the data into a database. PwC then used
     the survey data as the source data for a regression analysis.
     Regression analysis is a method of testing the statistical importance of
     various factors influencing a variable (in this instance the costs of
     federal capital habeas corpus cases). A more detailed explanation of
     regression analysis is provided in Appendix A.



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1V.4 Methodology for the Case Studies

     The case study portion of the analysis was a study of the actual
     experiences of seven federal capital habeas corpus attorneys. PwC
     gathered and analyzed information on seven cases from six states (the
     six case study states to better understand the factors affecting the time
     and money spent in different regions of the United States. The case
     studies also provided the opportunity to discuss PwC's preliminary
     findings with attorneys who have represented and submitted vouchers
     for these types of cases. The seven case studies are described in
     Appendix C.


    Case Selection

     With the assistance of the AOUSC, PwC chose 7 cases based on the
      following criteria:
      1._ Geographically, the cases were from a diversity of states;
      2. The appointed counsel completed their survey;
      3. The case had progressed at least to the circuit court of appeals
          stage; and
      4. The case had at least one district and one circuit voucher.


      The final list of seven cases included:
      • One case from Pennsylvania (Third Circuit);
      •   One case from Texas (Fifth Circuit);
      •   One case from Illinois (Seventh Circuit);
      •   One case from Missouri (Eighth Circuit);
      o Two cases from California (Ninth Circuit); and
      o One case from Alabama (Eleventh Circuit).
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    All of the cases had progressed through the appellate stage. In
     addition, almost all of the original crimes were double homicides with
     an accompanying felony.


   The Attorney Interviews and Group Discussion

    All of the attorneys who represented these cases were interviewed as
    part of the study; four attorneys were interviewed in San Francisco,
     California, and three in Washington, D.C. The interviews, which
     lasted approximately 2 hours each, covered the history of the case and
    the various factors impacting the cost of the case. In California, PwC
     also conducted a focus group to discuss preliminary findings and
     generate discussion of regional differences in practice and culture.


   Corporate Law Firm Analysis

    During the case study interviews, the California attorneys hypothesized
    that the costliest cases were all represented by large corporate law
     firms. By contrast, although corporate law firms represent many
     capital habeas corpus petitioners pro bono in a number of states, panel
     attorneys from Texas, Pennsylvania, Illinois, Missouri, and Alabama
    were unaware of such firms billing the federal courts for their work in
     federal capital habeas corpus cases in the states where they practiced.


     To examine the hypothesis, PwC gathered information on 36 of the 37
     most costly cases in the CJA Panel Attorney Payment System
     database, all of which were from California. Because the C.TA Panel
     Attorney Payment System database does not indicate the type of law a
     panel attorney practiced when he or she represented the case, PwC

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     asked a federal capital habeas corpus expert whether or not a large
     corporate law fin-n employed the attorney providing representation in
     these 36 cases.


     The expert classified attorneys as "civil" attorneys, if a large corporate
     law firm employed them; otherwise they were categorized as criminal
     attorneys. In addition, the Martindale-Hubble Directory of attorneys
    provided information on several attorneys the expert was unable to
     classify. This was not a foolproof method of accurately identifying the
     cases represented by large corporate law firms, and conclusions drawn
     from this analysis are subject to methodological error. However, given
    the limitations in time and information, this was the best possible
    method for identifying attorneys who worked for large corporate law
     firms while providing federal capital habeas corpus representation.




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      Section V:                         CJA Panel Attorney Payment System
                                         Database Analysis

       V.1 National Costs

            PwC analyzed the cost of federal capital habeas corpus cases from the
            CJA Panel Attorney Payment System database for the years FY 1992
            to FY 1998, subject to removal of some cases as described in the
            methodology. As depicted in Figure V-1 below, the sum costs of the
            783 cases analyzed was $102,293,031. 37 The average cost per case was
            approximately $130,000, and the median was approximately $63,000
            per case.

            CJA Panel Attorney Payment System Data
            Open and Closed Cases_by Case Disposition

                                                        All Cases
                                                        Number of Cases 783
                                                        SUM Cast : $102,293,031.13
                                                        Avg. Cost: $130,642.44
                                                        Median Cost363,256,132



                   Open Cases                                                            Closed Cases
                   Number of Cases: 631                                                  Number of Cases: 152
                   Sum Cost: $89,856,704.23                                              Sum Cost: $12,436,326.90
                   Avg. Cost: $142,403.65                                                Avg. Cost: $81,817.94
                   Median Cost: $68,154.90                                               Median Cost; $54,779.85



Active                                Dormant                          Executed                            Commuted/Released/Died
Number of Cases: 563                  Number of Cases: 68              Number of Cases: 131                Number of Cases: 21
Sum Cost: 585,218,988.17              Sum Cost: $4,637,716.06          Sum Cost: $10,866,740.36            Sum Cost: $1,569,586.54
Avg. Cost: $151,365.90                Avg. Cost: $68,201.71            Avg. Cost: $82,952.22               Avg, Cost: $74,742.22
Median: $72,910.73                    Median: $33,517.75               Median: $55,616.75                  Median: $53,428.87

                          Figure V-1: Distribution of Costs and Number of Cases




       37The figures above reflect only those amounts paid to private panel attorneys to cover attorney
       fees, expenses, and expert costs. However, the attorneys that PwC interviewed also cited the use
       of other resources, including the defunded Resource Centers, law school students, interns, and
       pro bono attorneys. The attorneys suggested that this use of additional resources is common
       practice nationwide. The costs noted here understate the true value of resources provided in the
       representation.

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     Overall, open cases incurred 88 percent of all costs ($89.9 million),
     whereas closed cases incurred only 12 percent of costs ($12.4
     million).38 Moreover, open cases that are active were the most costly:


     • $82,952 average (and $55,617 median) cost of closed cases in
          which the petitioner was executed;
     • $74,742 average (and $53,429 median) cost of closed cases in
          which the petitioner died in prison, was released or in which his or
          her sentence was commuted;
     • $151,366 average (and $72,911 median) cost of open cases that are
          active; and
     •    $68,202 average (and $33,518 median) cost of open cases that are
          dormant (that is, nonactive).


     California cases largely drive the high average cost of open cases. If
   - the California cases were removed, the average cost of open cases
     would drop to $66,931— a decrease of almost 50 percent. In contrast,
     the average cost of non-California closed cases is $81,805, higher than
     the average cost of non-California open cases. Therefore, if California
     cases are removed, closed cases are more costly than open cases.


   V.2 Breakdown of Costs by Stage of Proceeding

     Most of the costs of open cases were incurred during the habeas
     petition stage (shown in Figure V-2 below). This result is not


   " The estimate for closed costs, however, may be low since many of those cases may have
   incurred costs before 1992, and are not reflected in the totals in the CJA Panel Attorney
   Payment System database. In 119 open cases and 51 closed cases, attorneys were appointed prior
   to FY 1992.

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    surprising considering that most work in a federal capital habeas
    corpus case involves preparation of the petition. For all cases, the
    petition stage accounted for, on average, 789.5 of the average 913.8
    hours billed per case, equivalent to 86 percent of the average hours
    billed per case.
    CJA Panel Attorney Payment System Data
    Open Cases by Stage of Proceeding
                                        All Cases
                                        Number of Cases: 783
                                        Sum Cost: $102,293,031.13
                                        Avg. Cost: $103,642.44
                                        Median Cost:$63,256.82


        Open Cases                                                       Closed Cases
        Number of Cases 631                                              Number of Cases: 152
        Sum Cost: $89,856,704.23                                         Sum Cost: $12,439,526.90
        Avg. Cost: $142,403.65                                           Avg. Cost: $81,838.99
        Median Cost: $68,154.90                                          Median Cost: $54,779.85


        Habeas Petition                      Evidentiary Hearing         Dispositive Motions
        Number of Cases: 551                 Number of Cases: 89         Number of Cases: 83
        Sum Cost: $71,278,842.25             Sum Cost: $4,858,859.10     Sum Cost: $2,039,349.95
        Avg. Cost: S129,362.69               Avg. Cost: $54,593.92       Avg. Cost: $24,570.48
        Median: $46,614.39                   Median: $17,200.03          Median: $12,398.48

        Appeal                               Petition for Cert           Other Stages
        Number of Cases: 138                 Number of Cases: 32         Number of Cases: 40
        Sum Cost: $4,061,133.95              Sum Cost: $298,654.45       Sum Cost: $448,626.95
        Avg. Cost: $29,428.51                Avg. Cost: $9,332.95        Avg. Cost: $11,215.67
        Median: $20,713.45                   Median: $8,025.44           Median: $4,835.90

        Unknown Stage
        Number of Cases: 155
        Sum Cost: $6,871,237.57
        Avg. Cost: $44,330.56
        Median: $21,398.93

          Figure V-2: Distribution of Costs and Number of Open Cases


    The habeas petition stage is the most costly stage and drives the total
    cost of a case. The average and median costs of the habeas petition
    stage for open cases ($129,363 and $46,614 respectively) are close to
    the average and median costs of all cases all stages for all cases
    combined ($130,642 and $63,257, respectively). As noted above,
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    discrepancies in costs between open and closed cases are due to the
    preponderance of California cases among the open population. Open
    cases also incur high costs in the evidentiary hearing and appeal stages.
    These stages incur average and median costs of over $15,000.
    However, because not all cases have reached these stages (and some
    may never reach these stages), the total costs represented by these
     stages is approximately $11 million, compared to a total of $71 million
     for the petition stage.'


     Similarly, for closed cases, most costs were incurred in the habeas
    petition stage. However, the appeals stage also accounts for a large
     proportion of the total costs of closed cases (see Figure V-3 below).
     This is partly due to two reasons. First, more closed than open cases
     have reached the appellate stage. Eighty-three percent of closed cases
     have reached the appellate level as opposed to 26 percent of open
     cases. Secondly, while the appellate stage has the same cost on
     average (nearly $30,000), regardless of whether the case is open or
     closed, closed cases are less costly in total, partly due to the impact of
     California cases noted earlier, and partly due to the relatively age of
     closed cases compared to open cases. Closed cases were, on average,
     17.3 months old on October 1, 1991—the date of the first voucher in
     the database—and hence had incurred more costs than open cases.
     Open cases were 11.3 months old on October 1, 1991 on average.




   " The unknown stage also had high costs. A voucher was assigned to the unknown stage if the
   stage of proceeding was not noted on the voucher. Based on a review of voucher submission
   dates, PwC believes that many vouchers assigned to the 'unknown' stage really belong in the
   habeas petition stage.

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    CJA Panel Attorney Payment System Data
    Closed Cases by Stage of Proceeding
                                          All Cases
                                          Number of Cases 783
                                          Sum Cost $102,293,031.13
                                          Avg. Cost $130,642.44
                                          Median $63,256.82


         Open Cases                                                           Closed Cases
         Number of Cases 631                                                  Number of Cases 152
         Sum Cost $89,856,704.25                                              Sum Cost $12,439,526.90
         Avg. Cost $142,403.65                                                Avg. Cost $81,838.99
         Median 568154.90                                                     Median $54179.85

         Habeas Petition                       Evidentiary Hearing            Dispositive Motions
         Number of Cases 90                    Number of Cases 15             Number of Cases 21
         Sum Cost $3,812,988.05                Sum Cost $300,904.90           Sum Cost $482,501.30
         Avg. Cost $42,366.53                  Avg. Cost $20,060.33           Avg. Cost $22,976.25
         Median $27,715.48                     Median $8,936.50               Median $8,921.00

         Appeal                                Petition for Cert              Other Stages
         Number of Cases 112                   Number of Cases 46             Number of Cases 39
         Sum Cost $3,364,621.24                Sum Cost $541,071.99           Sum Cost $429,591.16
         Avg. Cost $30,041.26                  Avg. Cost $11,762.43           Avg. Cost $11,015.16
         Median $21,129.86                     Median $8,351.29               Median $4,607.66

                                                                              Unknown Stage
                                                                              Number of Cases 62
                                                                              Sum Cost S3,594,648.34
                                                                              Avg. Cost $56,526.59
                                                                              Median $35,436.85

         Figure V-3: Distribution of Costs and Number of Closed Cases


    In contrast, the average cost of an evidentiary hearing is almost twice
    as much for an open case as for a closed case. This is largely due to
    the impact of California cases. If the California cases are removed, the
    average cost per case for open cases is only $20,004.


    Prior to 1995, attorney vouchers did not specify stage of proceeding,
    and therefore, many vouchers submitted prior to 1995 were attributed
    to the "unknown" stage of proceeding. For closed cases, "unknown"
    vouchers account for almost 30 percent of total dollars, as opposed to
    approximately 7 percent of total costs for open cases. Since the habeas
    petition and evidentiary hearing stages occur early in the life cycle of a
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    case, it is likely that most of the $3 million in the "unknown" stage is
    attributable to the habeas petition or evidentiary hearing stages. This
    would increase the average cost for each of these stages.


    Figure V-4 and Figure V-5 below present some of the same
    information in the form of pie charts. The figures show the percentage
    of total costs incurred between FY 1992 and FY 1998 for open and
    closed cases, broken down by stage of proceeding. Figure V-4 shows
    that 80 percent of the total costs of open cases were incurred during
    the habeas petition stage. Figure V-5 shows that for closed cases, the
    appeal stage incurred the same percentage of total costs as the habeas
    petition stage. As noted above, this may simply reflect the age of the
    closed cases; older cases would have incurred costs in the petition
    stage prior to the period covered in this analysis.


                                    Stay of Execution                  Petition for Cert,
                     Petition for Cert      0%      Appeal of Denial         Denial
                                                          0%                     0%
                  Appeal 0%
                   5%
    Dispositive Motions
             2%

      Evidentiary Hearing
              5%




                                                     Habeas Petition
                                                         80%

          Figure V-4: Total Cost of Open Cases by Stage of Proceeding

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         Stay of Executio
                1%
           Petition forCert                          Unknown
                  4%                                  28%

                     Appeal
                      27%




           Dispositive Motion
                   4%
              Evidentiary Hearin
                     2%



        Figure V-5: Total Cost of Closed Cases by Stage of Proceeding


    Because the habeas petition, evidentiary hearing, and appeal stages
    account for the vast majority of costs, PwC's analysis of stages
    focused on the costs of these stages of proceeding.


   V.3 Breakdown of Costs by Component

    A breakdown of costs by component shows that the largest component
    is, by far, out-of-court attorney fees. This is followed by expert costs,
    attorneys' expenses, and finally, in-court fees. This is shown in Figure
    V-6 below.




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                                                                               Case Status


                      Figure V-6: Average Cost Per Case—Attorney, Expert Costs and
                                                Expenses




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                                                                                                                                                                0 Median Out-of-Court Cost
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   Figure V-7: Median Cost Per Case--Attorney, Expert Costs, and Expenses

                                                                                                    V-45                                                                             PRICEWATERH OUSECCOPERS




                                                                                                                    Exhibit 12
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    The large proportion of out-of-court costs occur because federal capital
    habeas corpus cases require extensive amounts of out-of-court time for
    petition preparation, client interviews, background research, and
    investigation. Attorneys only spend a small amount of in-court time
    for courtroom presentations such as an evidentiary hearings or
    dispositive motions.


   VA Breakdown of Costs by Circuit

    PwC compared the average cost of cases by circuit (see Figure V-8).
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                      Figure V-8: Average and Median Cost Per Case By Circuit


     Overall, Ninth Circuit cases had a significantly higher average cost
    than cases in other circuits. The average cost in the Ninth Circuit was
     $289,054, compared to an average of $62,483 for all other circuits.
     Moreover, the Ninth Circuit accounts for the 37 most costly cases in
     the CJA Panel Attorney Payment System database. If those cases are
                                                    V-46                                                   PRICEWATERHOWECOOPERS



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    removed, the national average cost drops by approximately 25 percent
    to $97,556 from $130,642. The average cost per case in the Ninth
    Circuit would drop by $89,000 or 30 percent, to $199,912. This
    emphasizes the impact that Ninth Circuit cases have on average costs
    nationwide.


    The cost per open case in the Ninth Circuit is $299,318, slightly more
    than the overall average cost per case in the Ninth Circuit of $289,053.
    However, the average cost of closed cases in the Ninth Circuit is on par
    with average costs of closed cases in other circuits. This indicates that
    there are not many closed cases that push down the average cost for all
    cases in the Ninth Circuit.
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       Figure V-9: Average Cost of All, Open and Closed Cases by Circuit


     In fact, closed cases account for only 5 percent of all cases in the Ninth
     Circuit; the remaining 95 percent are open. This implies that it is not

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                                                             Exhibit 12
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    just the proportion of cases that leads to higher average costs, but that
    specific Ninth Circuit factors associated with open cases drive costs.

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                                      Figure V-10: Percentage of Open Cases by Circuit


    When costs are compared by state, California cases have the highest
    average and median costs nationwide (see Figure V-11 below).


    Given the large number of California cases (20 percent of all federal
    capital habeas corpus cases), it is clear that the cost of California cases
    is driving the cost of all cases. California cases make up 57 percent of
    the $102 million in total costs. Since 95 percent of California cases are
    open, it is also clear why the average cost of open cases is much higher
    than the average cost of closed cases—the 149 open California cases
     drive up the average cost of all open cases.




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                         Figure V-11: Average and Median Cost By State


    PwC analyzed the costs of cases by district for all districts with more
    than 10 cases in the database. Not surprisingly, PwC found that cases
    in the California districts were much more costly than cases in any
    other district in the country. California Southern only had one case, so
    it was not included in the analysis, but case costs in the three other
    California districts averaged at least $299,000. Several other Ninth
    Circuit districts had high average costs. Idaho, Nevada, and Arizona
    districts all had an average cost of approximately $1000000 per case.
    This suggests that some of the high average cost in California can be
    attributed to factors that relate to the Ninth Circuit as a whole.
    However, California districts were the only districts with higher
    average costs than the national average, indicating that much of the
    additional cost is concentrated in practices that are specific to
    California.

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            Figure V-12: Average and Median Cost Per Case By District
                                    (Districts with more than 10 cases)


    The difference between the cost of cases in California, in the Ninth
    Circuit, and in other circuits can be seen in Figure V-13. In the chart
    below, the median cost of each case is connected by a line for each
    circuit, and the vertical axis (y-axis) shows the cost of each case. The
    costs of the cases have been ranked within each circuit to create a
    smooth curve that connects the few high-cost cases with the more
    numerous lower cost cases for each circuit. The Ninth Circuit has also
    been divided into California and non-California cases to show the
     impact that California cases have on Ninth Circuit costs.




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      Figure V-13: Plot of All Cases for All Circuits and California


 Immediately evident is that California's high costs are driving Ninth
 Circuit costs and are considerably higher than the costs of cases in
 other circuits. In the Ninth Circuit as a whole, average costs are just
 below $290,000, whereas in California average costs are close to
 $372,000. Overall, California cases account for $58.0 million of the
 $67.9 million in the Ninth Circuit and the $102.3 million in the whole
 of the United States. In other words, California cases alone account
 for 57 percent of the total costs of the OA Panel Attorney Payment
 System database and 85 percent of all Ninth Circuit costs. In addition,
 of the 37 most costly cases nationally, 36 are in California.


 The average cost of California cases is over $370,000, compared to
 approximately $70,000 for non-California cases. The median for



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             California cases is $307,666, and the median for non-California cases
             is $48,401. This is shown in Figure V-14.4°


         CJA Panel Attorney Payment System Data
         coitmi.g..?rv...N.pp-california

                                                             All Cases
                                                             Number of Cases 785
                                                             Sum Cost : $102,293,031.13
                                                             Avg. Cost: S130,642.44
                                                             Median Cost:$63,256.82


                                  1
                  California Cases                                                            Non-California Cases
                  Number of Cases: 156                                                        Number of Cases: 629
                  Sum Cost: $58,036,503.20                                                    Sum Cost: $44,256,527.93
                  Avg. Cost: $372,028.87                                                      Avg. Cost: $70,360.14
                  Median Cost: $307,665.54                                                    Median Cost: $48,401.37



Open Califonia                             Closed California                Open Non-California                 Closed Non-California
Number of Cases: 149                       Number of Cases: 7               Number of Cases: 484                Number of Cases: 145
Sum Cost: $57,461,909.50                   Sum Cost: $574,593.70            Sum Cost: $32,394,794.73            Sum Cost: $11,861,733.20
Avg. Cost: $388,650.40                     Avg. Cost: $132,084.81           Avg. Cost: $ 66,931.39              Avg. Cost: $81,805.06
Median: $331,021.80                        Median': 549,118.67              Median: $45,386.89                  Median: 555,325.00

               Figure V-14: Comparison of Costs of California and Non-California
                                            Cases


             The difference in costs between circuits can be partly accounted for by
             the fact that attorneys in the Ninth Circuit bill more out-of-court hours
             than attorneys in other circuits, as shown in Figure V-15 below.




        49
          The number of California plus non-California cases in the figure above equals 785, not 783,
        because two petitioners had cases in two different states. In PwC's analysis these are treated as
        the same case; this does not materially affect the results of the analysis.

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                      Figure V-15: Out-of-Court Hours Spent by Attorney per Case per
                                                  Circuit


 On average, an attorney in the Ninth Circuit spends 861.7 out-of-court
 hours per case—almost three times the average for all other circuits
 (306.3 out-of-court hours per attorney per case). In contrast, the Ninth
 Circuit hourly out-of-court rate ($128.45 per hour) was only slightly
 higher than the average rate for other circuits ($111.46), as shown in
 Figure V-16 below. This implies that it is primarily the amount of
 time spent by attorneys working on California cases that drives the
 high costs, not the average hourly rate.


  Given that out-of-court time is the largest cost category in federal
  capital habeas corpus cases, the amount of time spent per attorney per
  case in the Ninth Circuit for open cases is the largest cost driver of
  CIA panel attorney costs.



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                                                         Circuit

                          Figure V46: Average Out-of-Court Attorney Rate per Circuit


 To discover how attorneys spend their time, PwC looked at 10
 categories of attorney time in the stages of proceeding that incur the
 most costs: the habeas petition stage, the evidentiary hearing stage, and
 the appeal stage (Figure V-17, Figure V-18, Figure V-19). In all of
 these stages, most attorney time was spent conducting legal research
 and writing. Discussions with attorneys and representatives from the
 AOUSC revealed that this broad category is often used as the default
 category by attorneys that fill out the CIA vouchers from which the
 data is drawn.


 Figure V-17 shows the average amount of time spent per attorney in
 the preparation of the habeas petition, by circuit. Time spent in legal
 research and writing dominates other activities, costing attorneys in the
 Ninth Circuit $53,053 per case on average.

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  Figure V-17: Average Attorney Hours in the Habeas Petition Stage by
                                Circuit


 It is noticeable that attorneys in the Ninth Circuit spend approximately
 twice as much time reviewing documents and the trial record as
 attorneys in other circuits. This costs $10,789 more for reviewing
 documents, and $6,513 more for reading the trial record. This is most
 likely due to the large size of trial records and counsel files in
 California relative to other states, as well as to the litigious nature of
 defending a case in California. California attorneys who were
 interviewed for the Case Study Section of this report supported this
 hypothesis. Attorneys in California also spend more time interviewing
 clients and witnesses, traveling, and spending time on "other




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     activities." 41 Section V-6 will discuss the costs associated with the
     extra time California attorneys spend in these activities.


     In the evidentiary hearing stage, attorneys in the Ninth Circuit spend
     more time interviewing clients, consulting with the Resource Centers
     (defunded in 1995), consulting with experts, and reviewing
     documents.


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     Figure V-18: Average Attorney Hours in the Evidentiary Hearing Stage
                                  by Circuit


     In the appeal stage, attorneys in the Ninth Circuit spend more time
     conducting legal research and writing, and to a lesser extent, reviewing




41The practice of spending more time reviewing the record, interviewing clients, traveling and doing
"other activities" may reflect a more general practice in California by attorneys working on any type of
case (capital, capital habeas corpus, and noncapital), not just federal capital habeas corpus.
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     documents. However, the differences as to how time is spent are not
     as significant as for the other stages of proceeding.


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         Figure V-19: Average Attorney Hours Spent in the Appeal Stage By
                                     Circuit


     Attorneys in the Ninth Circuit spend much more time consulting with
     experts than their counterparts in other circuits. This is consistent
     with the high average expert costs per case in the Ninth Circuit. As
     shown in Figure V-20 below, average expert costs in the Ninth Circuit
     are more than twice the average cost for experts in the other circuits. 42
     Comparison of the average number of experts per case in California
     and non-California cases explains this difference. In California, an




42   This average is computed for only those cases with expert vouchers, not for all cases.


                                                     V-57                                               PRICEVVATERHOUSVDPERS



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 average case has 4.3 experts, whereas a non-California case has 0.8
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             Figure V-20: Average Expert Cost Per Case by Circuit


 This preliminary analysis leads to several findings regarding the costs
 of federal capital habeas corpus cases in California and the Ninth
 Circuit:
 • The average and median cost of cases in the Ninth Circuit are
      significantly higher than those of other circuits;
 • The cost of cases in the Ninth Circuit are driven by the cost of
      California cases;
 • Attorneys in the Ninth Circuit spend almost three times as much
      time working out-of-court as their counterparts in other circuits;
 • Expert costs are, on average, over three times as high in the Ninth
      Circuit as they are in other circuits.




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V.5 Study of Ninth Circuit Cases by State

     The comparison of states within the Ninth Circuit focused on the
     following factors:
      1.   Average cost per case for each stage of proceeding;
     2.    Average hourly rate per attorney per case;
     3.    Average number of out-of-court hours per case;
     4.    Average number of attorneys per case; and
     5.    Average time spent per activity per case.
     The conclusions drawn from these analyses have to be qualified due to
     the low number of cases in some states. For example, Washington has
      only five cases, so there is no such thing as a "representative" case in
     Washington. Montana, which has only one case in the database, was
     not included in this portion of the analysis. When the population size
      is small, PwC indicates how many cases constitute the population in
      each state.


      Overall, the non-California Ninth Circuit average cost per case is
      $125,204—twice the $62,483 average cost per case outside of the
      Ninth Circuit. Even without California, the Ninth Circuit would still
      show high costs. This extra $63,000 of costs is most likely attributable
      to Ninth Circuit factors and is not a function of the special
      circumstances in California. This section will highlight differences
      between the states of the Ninth Circuit, and also between the Ninth
      Circuit and the country. Later sections will explore differences
      between California and non-California states.




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 Examination of Ninth Circuit cases began by analyzing the average
 cost per case by state. California was clearly the most costly state.
 The findings are presented in Table V-1.


        Table       Average Cost Per Case in Ninth Circuit States
                State                 Average Cost Per Case
      Arizona                                   $95,231
      Nevada                                   $101,058
      Idaho                                    $126,407
      Washington                               $184,396
      California                               $324,176


 PwC next studied the costs of the major stages of proceeding (habeas
 petition and evidentiary hearing) for costs incurred prior to the case
 reaching the appellate level. For this analysis, appellate- level costs
 were excluded.


 For the habeas petition stage, the average cost of non-California Ninth
 Circuit cases is $117,155, while the median cost is $46,614. In
 California, the average cost of $294,400 is more than twice the
 national average. Washington state also had a high average but only a
 small number of cases. Figure V-21 displays these results below:




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                                           Average and Median Cost Per Stage For Ninth Circuit States



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                     Figure V-21: Average Costs Per Case for Habeas Petition and
                                     Evidentiary Hearing Stages


  In the evidentiary hearing stage, comparison between the states was
  not meaningful due to the small population sizes of all states except for
  California (see Table V-2). For example, Arizona and Washington had
  average costs for this stage of $25,197 and $36,836 respectively.
  However, since they each only had two cases in this stage of
  proceeding, it was difficult to draw any conclusions about average or
  typical costs. Thirty-two of the 36 Ninth Circuit cases with evidentiary
  hearings were in California. For the habeas and evidentiary hearing
  stages, it is not surprising that California, with an average cost of
  $100,357, drives the Ninth Circuit's average cost of $92,653. This is
  about twice the national average of $49,614.




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             Table V-2: Number of Cases by Stage of Proceeding
State             Total     Habeas       Evidentiary        Percentage of
                  Case      Petition      Hearing          Total Reaching
                  Pop.       Pop.           Pop.           the Ev. Hearing
                                                                Stage
Arizona            44          29              2                 5%
Nevada              14         13              0                   0%
Idaho               13         13              0                   0%
Washington          5           1              2                40%
California         156         149            32                21%


 This analysis shows California's costs in key stages of proceeding are
 higher than those of other Ninth Circuit states. California has unique
  factors contributing to habeas petition and evidentiary hearing costs
  that are not common to the other Ninth Circuit states.


  The next step was a comparison of attorney rates per case in each state.
  The rates were calculated by dividing the total out-of-court attorney
  fees by the total number of out-of-court hours for all cases. Out-of-
  court costs and hours were used rather than in-court costs and hours,
  because out-of-court time is the primary driver of case costs.


  California's out-of-court rates were somewhat higher than both the
  national average and other states in the Ninth Circuit, but not high
  enough to account for the large disparities in average costs per case.
  Figure V-22 shows that California's average out-of-court rate was
  $136.05, not significantly higher than that of other states in the Ninth
  Circuit.


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  Figure V-22: Average Out-of-Court Rate Per Case in the Ninth Circuit,
                                By State


• The rate is approximately 6 percent higher than the Ninth Circuit
 average of $128.45, and 10 percent higher than the national average of
 $123.25.


 Further analysis shows that the number of out-of-court hours in
 California is much higher than in any other state in the Ninth Circuit.
 The average amount of out-of-court time spent on non-California
 Ninth Circuit cases was 900 hours. In comparison, California averages
 2,115. Figure V-23 below compares California to other Ninth Circuit
  states.




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                                           State



   Figure V-23: Average Number of Out-of-Court Hours per Case in the
                            Ninth Circuit


 Combining the data on rates and hours shows that the hours spent on a
 case are the major determinant of California's higher costs. In
 addition, these results show that significantly more time is being spent
 on Ninth Circuit cases compared to non-Ninth Circuit cases.


 One possible factor contributing to the number of hours spent in a case
 is the average number of attorneys working on a case in each state. In
 California, an average of 2.14 attorneys worked on a case over its
 lifetime (Figure V-24). This was not, however, the highest in the
 Ninth Circuit—California's average was only the median value of the
 five states. Figure V-24 shows that in both Idaho and Washington
 more attorneys were assigned to cases, on average, than in California.



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        Figure 1-24: Average Number of Attorneys Per Case in the Ninth
                               Circuit, By State


 The higher number of attorneys per case does not necessarily correlate
 with higher average costs. However, two qualifiers should be
 nientioned. First, the OA Panel Attorney Payment System database
 did not allow PwC to determine accurately if two attorneys were
 working at the same time, if attorneys worked successively, or both (an
 attorney may have started as co-counsel and replaced the lead counsel
 later). Secondly, the data used to calculate these numbers only showed
 the number of attorneys who billed their time. In some cases, one
 attorney may have represented a law firm, where a number of attorneys
 were working on the case, but submitted a consolidated bill. These
 issues are further explored in Section VII.


  Since out-of-court time was the primary driver of costs, the final step
 in our comparison of cases was a further breakdown of how attorneys

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     spend their time in each Ninth Circuit state. This analysis was
     performed in the same way as the breakdown of attorney time in the
     stage of proceeding and circuit analyses. PwC eliminated those cases
     with no information submitted for attorney time activities. For the
     remaining cases, PwC then found the average amount of time spent on
     each activity per case for each state.

     As shown in Figure V-25 below, California attorneys spent more time
     in every category except for courtroom hearings. As in other analyses,
     legal research and writing was the main cost-driver. On average,
     attorneys in California spent 562.3 hours, or approximately $70,000
     on legal research and writing. 43


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                                                                             Activity

                     Figure V-25: Average Time Spent Per Case Per Activity



43The time spent on each activity are underestimated. On average, California cases consumed over
2,000 attorney out-of-court hours. OF these, 914.5 hours are not allocated to any particular activity in
the CJA Panel Attorney Payment System database. The remaining 1,200 hours are divided among
different activities as shown in Figure V-25.




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  In conclusion, several factors differentiate cases in California from
  other Ninth Circuit cases with respect to costs, but primarily it is the
  amount of time that attorneys spend on a case that drives the high costs
  of federal capital habeas corpus cases in California.


11.6 Accounting for the Cost Differential Between the
      Average California and Non-California Case

  To determine the source of the difference in costs of California and
  non-California cases, PwC compared an average non-California case
  with an average California case by cost component, including:
  1. Out-of-court hours;
  2. Out-of-court rate;
  3. Attorney expenses;
  4. Expert costs; and
  5. In-Court fees;


  In addition, the costs of California and non-California cases were
  compared by identifying cost differences by stage of proceeding.


  The average case originating in California cost $372,029, and the
  average non-California case cost $70,360. The medians were
  $307,666 for California and $48,401 for non-California states—both
  slightly less than the averages. The $301,669 difference in the average
  costs can be divided into the five components listed above. The results
  are displayed in Figure V-26 below.


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   Figure V-26: The Cost Differential Between the Average Case Cost in
      Non-California Cases and the Average Case Cost in California


 The percentage of the $301,669 difference in costs attributable to each
 factor is shown in the pie chart below:




                                                               Difference in In-
                                                                 Court Fees
                                                                      1 r/



                                                                   Difference in Expert
                                                                          Costs
                                                                           12%




                       Difference in Out•of-
                            Court Rate



 Figure V-27: Percentage of the Cost Differential Between California and
          Non-California Cases Attributable to Certain Factors

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V.6.1.1 Out-of-Court Hours

  As expected, the vast majority of the difference in average costs can be
  attributed to out-of-court hours. In fact, over half the difference in the
  costs between California and non-California cases can be explained by
  this single factor.


  To further understand the difference in costs attributable to out-of-
  court hours, PwC analyzed differences in the amount of time attorneys
  spent on certain activities. The OA Panel Attorney Payment System
  database contains information on nine out-of-court activities. PwC
  broke down the percentage of time attorneys spent on each activity,
  and compared the averages for California and non-California. Figure
  V-28 below shows the results:




                                                                Other
                                                                12%




                                           Review Record
                                                8%




      Figure V-28: Percentage of Out-of-Court Cost Attributed to Each
                             Attorney Activity




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 Almost half the difference is attributable to legal research and writing.
 However, as noted earlier in the report this is a broad category that
 captures many tasks and activities, making it difficult to draw any
 conclusions about what causes this difference in hours.


 Part of the difference in total out-of-court hours can be explained by
 the longer state trial records that California federal capital habeas
 corpus attorneys must review. When attorneys broke down their time
 by activities, California attorneys indicated that they spent on average
 187.8 hours reviewing the trial records, compared with 52.5 hours for
 attorneys from non-California cases. This excludes time they spent
 reviewing other court documents. The difference of 135.2 hours
 translates into $14,377 at the non-California attorney rate of $106.30
 per hour. This figure is the direct cost of reading the longer California
 trial records.


 California attorneys also spend more time consulting with experts. On
 average, attorneys in a California case spent 107.3 hours in this
 activity, while outside of California attorneys spent 17.9 hours
 consulting with experts. Multiplying the difference, 89.4 hours, by the
 average non-California rate ($106.30 per hour), results in $9,507. This
 is on top of the additional money that California attorneys spent
 directly on experts, as discussed below.


 Some of the additional time was spent traveling. Attorneys
 representing a California case spent an average of 90.8 hours per case
 traveling, compared with 30.3 hours per case for attorneys in other


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 states. This translates into approximately $9,655 in additional costs.
 The amount of money that attorneys billed to travel is discussed below.


V.6.1.2 Out-of-Court Rate

 The difference in attorney hours does not entirely explain the higher
 costs in California. The second greatest factor was the difference
 between average California and non-California rates that accounted for
 $60,253 of the difference in costs. In part, this is because the
 difference in rates was multiplied by the average number of hours
  spent on a case in California (not the number of hours spent on a non-
  California case), so much of this $60,253 arises from the greater
 number of hours billed by California attorneys. The rest is simply the
  result of California attorneys billing at a rate of $133.90, 9 percent
  higher than the $106.30 average for the rest of the country.


V.6.1.3 Attorney Expenses

  Although attorney expenses accounts for only about 10 percent of the
  difference between average California and non-California costs,
  California attorneys charged an average of $35,564 in expenses, more
  than eight times the average non-California attorney's expenses of
  $4,204. In comparison, the total cost of a California case is, on
  average, approximately five times the cost of a non-California case.
  These figures show that attorney expenses compose a higher
  percentage of total case costs in California than in non-California
  cases. Attorney expenses are the sum of travel and "other" dollars in
  the OA Panel Attorney Payment System database. When average
  expenses in California are broken down by these categories, an average

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 of $3,116 was incurred for travel and the remaining $32,449 for
 "other" (non-travel) expenditures. This compares with $706 worth of
 expenditures for travel and $3,499 spent on "other" in the average non-
 California case. The CIA Panel Attorney Payment System database
 does not differentiate between types of non-travel expenses.


 The difference in travel accounts for only $2,410 of the additional cost
 of a California case, compared to a non-California case. Combined
 with the $9,655 extra cost of time spent traveling discussed above,
 only $12,065 of the $301,669 cost differential can be explained by
 travel. The difference in "other" expenses remains unexplained.
 However, one possible source of the difference between California and
 non-California costs is the use and billing practices of attorneys from
 large corporate law firms. While this use could not be fully analyzed
 within the limits of the study, the issue is briefly discussed below in
- Section VII.


V.6.1.4 Expert Costs

 The difference between the average expert cost in California and the
 average expert cost outside of California explained approximately 12
 percent of the total difference in costs. However, experts in California
 cost an average of $39,461 per case—eleven times the non-California
 average cost of $3,574. Again, this is disproportional to the overall
  cost difference—California cases are on average, five times more
  costly than non-California cases. To explain the higher expert costs,
 PwC examined the data and found, not surprisingly, that experts are
 being used more often in California. Although the same types of


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  experts are used in all states, California attorneys simply use more of
 them more often. It might also be true that experts bill at higher rates
 in California, but that could not be ascertained from the information in
 the CJA Panel Attorney Payment System database.


  In California, on average 4.3 experts work on a case, compared with
  0.80 experts per case for all non-California states. In addition, when
  comparing the use of experts for California and non-California cases,
  experts were used in a much greater proportion of California cases than
  non-California cases.


               Table V-3: Percentage of Cases Using Experts


                  Percentage of Cases Using Experts
                             All      California Non-California
             Total Cases          783        156            627
             Investigator       30%         86%            13%
             Interpreter           1%        6%             0%
             Psychologist       20%         64%             9%
             Psychiatrist        16%        58%             7%
             Polygraph            0%         0%             0%
             Documents             1%        3%             0%
             Fingerprint          0%         2%             0%
             Accountant           0%         1%             0%
             CALR                 0%         1%             0%
             Chemist               1%        3%              0%
             Ballistics            1%        3%              1%
             Other               30%        78%            15%



  The table above shows that attorneys most often employ psychiatrists,
  psychologists and investigators as experts. For both California and
  non-California cases, these expert costs occur most often in the habeas



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  petition stage, followed by the evidentiary hearing and dispositive
  motions stages, as shown below in Figure V-29.




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                                                                Stage of Proceeding




    - Figure V-29: Average Cost Per Case For Experts in All Stages


  As shown in Table V-4, California experts have higher average costs
  than non-California experts for the habeas petition and evidentiary
  hearing stages. This indicates that, in California, experts are used
  much more in discovery and investigation. Attorneys interviewed in
  the case studies suggested that the greater use of mental health experts
  in California could be a possible cause of higher costs. This
  corresponds to the data in Table V-3 above, which shows that
  psychiatrists and psychologists are used in over half the cases in
  California.



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  Interestingly, average expert costs were lower in California than in
  non-California states for the dispositive motion stage. More curious is
  that non-California cases used experts more in the dispositve motion
  stage than in an evidentiary hearing or habeas petition stage.
        Table V-4: Average Cost Per Expert by Stage of Proceeding
    Stage of Proceeding              Non CA          CA            All
    Habeas Petition                    $10,235       $41,429       $25,200
    Evidentiary Hearing                 $5,939       $20,787       $10,972
    Dispositive Motion                 $18,398        $2,357       $12,382
    Appeal                                 $957         $318          $923
    Petition for Cert                      $683                       $683
    Appeal of Denial of Stay             $1,991                     $1,991
    Other                                $1,920       $4,731        $2,388
    Unknown                              $8,126      $15,269        $9,938

  To further explore expert costs, PwC compared the amount of money
  spent on mental health experts (psychologists and psychiatrists),
  investigators, and all other experts in California and non-California.

  As depicted in Figure V-30 below, attorneys representing California
  cases spend more, on average than attorneys representing non-
  California cases, for all three types of experts. In fact, California
  attorneys spend an average of 10 times more on each type of expert
  than non-California attorneys.




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      $45.030.00



      $40.000.00



      $35,000.00



      $amocoo


      S25.000.00
                                                                 DAvg Menial Health Expert Cost per Case
                                                                 131 Avg Cost of Other Experts per CaSe
                                                                 DA Investigator Cost per Case
   IJ $20,000.00
   L



      $15090.00



      $10,000.00



       $5,000.00
                                             ..:



                   FSi.712,i
           Sass
                         Non CA                    CA
                                  state

  Figure V-30: Average Cost per Case by Expert Type, California Cases
                         vs. Non-California Cases
 California cases use an average of 1.54 mental health experts per case,
 while the average for a non-California case is 0.26. In California,
 $9,092 per case is spent on mental health experts on average,
 compared to $863 in non-California cases. The use of these mental
 health experts supports the theory mentioned above, that the mental
 health of the petitioner is more rigorously evaluated in California than
 elsewhere.


 Outside of California, 0.22 investigators used per case on average,
 costing $1,688. In California, attorneys use an average of 1.30
 investigators costing $15,473. Thus, the average case in California
  spends almost 10 times as much on investigators as the rest of the
  country. This suggests that more time is spent in California cases
 researching both the facts and the history of the case than in non-
  California cases.

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 There is little difference in the mix of experts used in California and
 non-California cases. The average California case has, on average,
 more than five times the number of experts overall, six times the
 number of mental health experts, and six times the number of
  investigators compared to the average non-California case. The
  experts in California are more costly partially because of a greater use
  of experts, and possibly due to higher rates or to more time worked.


V.6.1.5 In-Court Attorney Fees

  Finally, in-court attorney fees represented only 1 percent of the
  difference in the average costs of California and non-California cases.
  California attorneys charged an average of $5,006—three times the
  average of $1,175 billed by non-California attorneys. In-court attorney
  compensation is only a small factor in explaining California's higher
  average cost per case.


V.6.1.6 Stage of Proceeding

  PwC compared the costs of California and non-California cases by
  stage of proceeding. The results are depicted in Figure V-31 below.




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      $350,000


      5300.000


      $250,000


      5200,000                                                                           Avg Non-CA
                                                                                    Miff Avg CA
                                                                                         Median Non-CA
      $150,000                                                                      - ,..-Mecllan CA


      $100,000


       $50,000


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                                   Stage of Proceeding



     Figure V-31: Average and Median Cost by Stage of Proceeding for
                   California and Non-California Cases


  The differences between California and non-California costs were most
  pronounced in the habeas petition stage. In California, the habeas
  petition stage costs an average of $331,295, compared with $51,517 in
  other states, a difference of almost $280,000. The bulk of the
  differential between California and non-California cases therefore lies
  in this stage. Part of this cost difference may be due to new discovery
  and investigation at the federal level to explore issues overlooked at
  the state post-conviction stage. The California attorneys interviewed
  as part of the case study analysis stated that federal capital habeas
  corpus cases often were not fully developed during the state post-
  conviction proceedings, thus requiring more research and investigation
  at the federal level to fully address all issues. Eighty-eight percent of
  attorneys from California who were surveyed stated that their requests
  for discovery at the state post-conviction proceedings were "denied or
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  sharply reduced." This compares with 59 percent of non-California
  attorneys. The fact that California attorneys spent an additional
  $13,785 on investigators compared to their non-California counterparts
  supports the hypothesis that more investigation and research was
  needed in California cases than in non-California cases (or California
  attorneys perceive this to be so).


  The evidentiary hearing stage also showed a substantial cost disparity
  of $92,000 between California and non-California cases. In California,
  the average evidentiary hearing cost $112,799 compared with $20,245
  for non-California states. Part of this substantial difference is due to
  additional expert costs, since $14,800 of the extra expert cost per case
  in California occurs in the evidentiary hearing stage. However, most is
  attributable to attorney out-of-court hours. In addition to the higher
  cost of an evidentiary hearing in California, evidentiary hearings are
  held more often there. The CJA Panel Attorney Payment System
  database showed that, of the cases that went to the appeal stage, 42
  percent of California cases had evidentiary hearings, compared to 11
  percent of non-California cases. The surveys told a similar story.
  Both California and non-California attorneys usually request
  evidentiary hearings at the federal level (95 percent of California and
  97 percent of non-California attorneys surveyed requested an
  evidentiary hearing), but California attorneys are granted evidentiary
  hearings more frequently. Eighty-three percent of California attorneys
  were granted hearings, compared to 40 percent of non-California
  attorneys.




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 The other stages of proceeding show minor differences between the
 costs of California and non-California cases. In California, dispositive
 motions cost $11,000 more than non-California cases, and appeals cost
 $13,000 more. The remaining stages had minimal differences or
 showed non-California cases to be slightly more costly. These stages
 also had a low volume of cases, making a comparison of costs of little
 value.




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Section VI:         Factor Analysis

 The previous analysis shows that the costs of all cases are largely
  driven by the number of hours spent out of court preparing the habeas
 petition. In addition, comparison of California cases with non-
  California cases reveals that the higher costs in California are due to:


  o More time spent by attorneys out of court in preparing the petition
      (57 percent of the cost difference);
  • Higher attorney compensation rates in California compared to other
      states (20 percent of the cost difference);
  • Higher expert costs in California (12 percent of the cost
      difference); and
  • Higher attorney expenses (10 percent of the cost difference).


  This leads to two questions:


  1. What, typically, are the factors that drive the costs of federal
      capital habeas corpus cases (and hence drive the amount of time
      spent preparing the petition) of all cases; and
  2. What factors make California so different from the rest of the
      country?


  To address these questions PwC sent out a questionnaire to 392 panel
  attorneys who provided representation in at least one federal capital
  habeas corpus case. The questionnaire asked about the factual details
  of the case and post-conviction proceedings, as well as the attorney's
  opinion of the factors driving the costs of the cases in which they were
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         involved. A copy of the questionnaire is provided in Appendix B. The
         responses were used in a variety of ways. First, PwC examined the
         reasons attorneys gave for high case costs. Secondly, PwC used
         regression analysis to identify factors that were strongly related to the
         costs of cases." The factors that PwC used in the analysis were based
         on the reasons the attorney gave for high-cost cases and on suggestions
         from representatives of the Defender Services Division of the AOUSC.
         Responses to particular questions that differentiated California from
         non-California cases were also analyzed, to see whether those
         responses supported or conflicted with cost factors suggested by the
         case study analysis.


VI.1          Attorney Opinions

         The surveys listed possible factors that might contribute to the costs of
         federal capital habeas corpus cases. Attorneys were asked to give each
         factor a score of 1 to 4. Attorneys gave a score of 1 to those factors
         they believe made a high contribution to costs, and a score of 4 to
         factors they believed did not contribute to costs.


         PwC calculated the average response for each factor and then ranked
         them in order of importance, as shown in Table VI-1 below. A score
         of 2.5 is the average response, so all responses that received below 2.5
         reported an above-average contribution to costs.




       " A discussioji of regression analysis is included in Appendix A.

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                              Table V1-1: List of Factors

                                                                             Contribution to Costs
   Possible Factors Contributing to the Costs of Federal Capital Habeas (1=High Contribution,
                                  Corpus Cases                                4410 Contribution)
                                                                             All       CA    Non-CA
  Competency of state trial counsel                                            1.55     1.25    1.63
  Other                                                                        1.57     1.75    1.53
  Incomplete factual development in state court                                1.61     1.25    1.70
  Significant legal research to support motions                                1.62     1.58    1.63
  Complex defendant personal background                                        1.83     1.61    2.13
  Aggressiveness of the Attorney General                                       1.85     1.88    1.84
  Large number of habeas claims                                                1.94     1.52    2.04
  Large number of expert witnesses required                                    2.19     1.63    2.35
  Competency of state post-conviction counsel                                  2.20     2.05    2.21
  Number of motions                                                            2.30     2.08    2.36
  Court evidentiary hearings                                                   2.32     2.07    2.37
  Number of pages of trial record                                              2.36     2.29    2.37
  Expedited briefing required because of execution date or other limitations   2.37     3.14    2.30
  Geographically dispersed evidence and witnesses                              2.40     2.46    2.39
  Large number of capital charges or aggravating circumstances                 2.42     2.47    2.41
  Difficulty in locating state records                                         2.52     2.22    2.60
  Number of pages of trial counsel files                                       2.54     2.50    2.54
  Number of pages of appeallate counsel files                                  2.67     2.78    2.88
  Need for translators/interpreters                                            3.76     3.85    3.71



  This table shows that the views of attorneys in California and non-
  California states do not greatly differ with respect to the contribution
  of various factors to total case costs. In all three categories, attorneys
  believe that the most significant factor contributing to the costs of the
  federal capital habeas corpus case is the competency of state trial
  counsel. Incomplete factual development in the state trial proceedings
  is also ranked as a high contributor to costs. These factors are related.
  Ineffective counsel in the state trial will result in incomplete factual
  development at the trial. "Ineffective assistance of counsel" is
  commonly raised as a federal capital habeas corpus claim. Eighty-one
  percent of attorneys surveyed made an "ineffective assistance of
  counsel" claim for the guilt phase of the trial, and 83 percent made this
  claim for the sentencing phase. A likely reason for the common use of
  the ineffective assistance of counsel claim is that it can encompass

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  many other claims about the weakness of a trial. Claims based on the
  Fourth, Eighth, and Fourteenth Amendments are more restricted.


  Several differences arose in the comparison of California attorney
  responses with non-California attorney responses. First, California
  attorneys gave the category "large number of habeas claims" a score of
  1.52, as opposed to 2.04 for non-California attorneys. The survey
  responses showed that, California attorneys raise more claims than
  their non-California counterparts, as shown in Table VI-2.


     Table VI-2: Survey Results on the Percentage of Habeas Claims Per
                                    Case
 Number of Habeas Claims Sought           All             CA      Non-CA
  1                                       7%               8%       7%
 2 to 5                                   36%             24%      40%
  6 to 10                                 34%             44%      33%
  11 to 20                                16%             20%       16%
 21 to 30                                  5%              4%       5%
  31 to 40                                0%               0%       0%
 More than 40                              0%              0%       0%
. Unknown Cases                             3               1        2
  Total Number of Cases                    126             25       101


  Secondly, California attorneys consider the number of expert witnesses
  required as a more substantial contributor to costs than non-California
  attorneys (see Table VI-1). This supports the prior findings on the
  impact of expert witnesses on the costs of California cases. Third,
  California attorneys, more than non-California attorneys, believed that
  the complexity of the petitioner's personal background had a larger
  impact on costs.




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 The survey also asked attorneys whether a number of possible
 environmental factors, including the attitudes of the local community,
 the judge, and the attorney general, toward both the crime and the
 death penalty itself, increased the costs of the case. The factors and
 responses are shown in Table VI-3 below. The table shows the
 percentage of attorneys who believed that each factor increased the
 costs they represent.


                   Table VI-3: Attitudes that Affect Costs
        Factor                                            Increased
                                                            Costs
        Local community attitudes toward the                29%
        original crime
        Local community attitudes toward the                 31%
        death penalty
        Attitude of the judge toward the original            34%
        crime
        Attitude of the judge toward the death               34%
        penalty
        Attitude of the Office of the Attorney               63%
        General toward the original crime
        Attitude of the Office of the Attorney               70%
        General toward the death penalty

  Most attorneys surveyed believe that the attitude of the Office of the
  Attorney General increased the costs of their case. Only one-third of
  the attorneys surveyed believed the judge's attitude either towards the
  original crime or toward the death penalty, increased the costs. This is
  consistent with the high ranking of the aggressiveness of the Office of
  the Attorney General as a cost driver in Table VI-1.




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VL2 Regression Analysis

  While the views of attorneys provided useful insights into the causes of
  costs of federal capital habeas corpus cases, they are subjective
  measures, dependent on attorney expectations, experiences, and
  beliefs, and may be limited to specific knowledge of local state and
  federal court practices.


  PwC used regression analysis, a type of statistical test as a means of
  using objective data to test which factors affect the costs of federal
  capital habeas corpus cases. This involved developing two models of
  factors likely to affect costs and testing the significance of these factors
  through statistical calculations. The two models were designed to
  analyze:
  1. The impact of various factors on the costs of 105 cases (all cases
      with a fully completed survey); and
  2. The impact of various factors on costs of 84 non-California cases
      all non-California cases with a fully completed survey).


  The reason for including the second (non-California) model was to
  determine if the factors that apparently influence the costs of all
  cases—based on the results of the first regression analysis—also
  appear to affect the costs of non-California cases. This helped
  differentiate between the factors that drive the costs of all cases and the
  factors that drive the costs of non-California cases.


  The factors tested in both models included:



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 • Whether travel was required for investigation to other states (at
     trial);
 • Whether the case originated in California;
 • Whether there was continuity of counsel from state to federal post-
     conviction proceedings;
 o The number of prior capital representations by counsel;
 o The number of pages of trial record;
 • The number of state post-conviction proceedings;
 • Whether the federal judge denied attorney requests (for experts,
     attorney fees, and for evidentiary hearings) at the federal post-
     conviction proceedings;
 • Whether the state judge denied a request for an evidentiary hearing
      at the state post-conviction proceeding;
 • Whether the state provides funding for the state post-conviction
     proceeding; and
 o The number of Claims made in the federal capital habeas corpus
     petition.


 The second model excluded the variable as to whether the case
 originated in California (as by design, they were all non-California
  eases).


Summary

 The combined results of the two models were inconclusive. The
 results suggested that:




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